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!BH<9%5HH9FC:                                               
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,+* &#+),*+'%(&0'+ %)!*                                               
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            +<9&9K0CF?*H5H99D5FHA9BHC:=B5B7=5@*9FJ=79GH<9R9D5FHA9BHS9IHG7<9

5B?9IHG7<95B?&9K0CF?F5B7<5B89IHG7<95B?+FIGHCAD5BMC:H<9

A9F=75G7C@@97H=J9@MR)9GDCB89BHGSR9IHG7<95B?SCFH<9R5B?S5F9K=@@=B;HCF9GC@J9

H<9A5HH9FG89G7F=698<9F9=BK=H<CIH:IFH<9FDFC7998=B;G 

                  9IHG7<95B?=G5;@C65@:=B5B7=5@=BGH=HIH=CB<958EI5FH9F98=B

F5B?:IFH9FA5BM

                  9IHG7<95B?=G@=79BG986MH<99D5FHA9BHHCCD9F5H95:CF9=;B65B?

6F5B7<=BH<9*H5H9C:&9K0CF?H<99IHG7<95B?&9K0CF?F5B7<H<9R&9K0CF?

F5B7<S5B85@GCCD9F5H9G5HFIGH7CAD5BM9IHG7<95B?+FIGHCAD5BMC:H<9A9F=75G

R+SK<=7<=G@=?9K=G9@=79BG985B8GID9FJ=G986MH<99D5FHA9BH
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                  H<99D5FHA9BH<5G699B=BJ9GH=;5H=B;J5F=CIG5GD97HGC:9IHG7<95B?UG

CD9F5H=CBGGD97=:=75@@MH<95B?UGF9@5H=CBG<=DK=H<"9::F9MDGH9=B5B8F9@5H989BH=H=9G5B8

7CFF9GDCB89BH5B88C@@5F 7@95F=B;F9@5H=CBG<=DGK=H<H<9989F5@5B?C:H<9%=88@95GH$H8 

R%S5B85BG?95B? *R5BG?9S

                        HCF9GC@J9H<=GA5HH9FK=H<CIH:IFH<9FDFC7998=B;GDIFGI5BHHCH<9

*ID9F=BH9B89BHUG5IH<CF=HMIB89F*97H=CBG5B8C:H<95B?=B;$5KH<99D5FHA9BH:=B8G

5G:C@@CKG

                       *       

      !BHFC8I7H=CB

                  @C65@:=B5B7=5@=BGH=HIH=CBG57H5G57F=H=75@@=B9C:89:9BG95;5=BGH=@@9;5@

:=B5B7=5@HF5BG57H=CBG=B5B9J9F7<5B;=B;5B8=BH9F7CBB97H98:=B5B7=5@B9HKCF? 

                 +<9989F5@5B?*97F97M7HR*SF9EI=F9G:=B5B7=5@=BGH=HIH=CBGHC<5J9

589EI5H95BH= ACB9M@5IB89F=B;R%$SDC@=7=9G5B8GMGH9AG=BD@579 &9K0CF?*H5H9@5K

F9EI=F9G:=B5B7=5@=BGH=HIH=CBGHC89J=G95B8=AD@9A9BHGMGH9AGF95GCB56@M89G=;B98HC=89BH=:M

5B8F9DCFHGIGD=7=CIG57H=J=HM5B86@C7?HF5BG57H=CBGDFC<=6=H986M@5K @@F9;I@5H98=BGH=HIH=CBG

5F99LD97H98HC7CB:=;IF9GMGH9AG65G98CBH<9=FIB=EI9F=G?:57HCFG=B7CFDCF5H=B;D5F5A9H9FG

GI7<5G=BGH=HIH=CBG=N9DF9G9B79=B<=;< F=G?>IF=G8=7H=CBG5B8H<9GD97=:=7@=B9GC:6IG=B9GG

=BJC@J985B8H<9=BGH=HIH=CBG<5J95B5::=FA5H=J98IHMHC9BGIF9H<5HH<9=FGMGH9AGFIB

9::97H=J9@M 

                 !B588=H=CBHC<5J=B;9::97H=J9%$7CBHFC@G=BD@579=H=G5@GCB979GG5FM:CF

:=B5B7=5@=BGH=HIH=CBGHCACB=HCFH<9=F7IGHCA9FG:CFH<9DIFDCG9C:DF9J9BH=B;H<9=F7IGHCA9FG

:FCA:57=@=H5H=B;7F=A=B5@57H=J=HMIG=B;H<9=BGH=HIH=CBGU:57=@=H=9G IFH<9F989F5@5B8




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9D5FHA9BH5@F9;I@5H=CBGF9EI=F97CFF9GDCB89BH65B?GHC7CB8I7H8I98=@=;9B79CB5B8ACB=HCF

BCB , * F9GDCB89BH65B?7@=9BHG 

                GGI7<#05B87IGHCA9F8I98=@=;9B795F97F=H=75@@M=ADCFH5BH5B8:=B5B7=5@

=BGH=HIH=CBGAIGH7C@@97H7IGHCA9F=B:CFA5H=CB5HH<9H=A9C:9GH56@=G<=B;B9KF9@5H=CBG<=DGK=H<

7@=9BHG=B7@I8=B;5GB979GG5FMHC5GG9GGH<9F=G?G5GGC7=5H98K=H<H<97@=9BH +CDFCD9F@M7CBG=89F

H<9G9F=G?G:=B5B7=5@=BGH=HIH=CBGG<CI@87CBG=89FF9@9J5BH:57HCFGGI7<5GH<9B5HIF9C:H<9

7@=9BHUG6IG=B9GGH<9DIFDCG9C:H<97@=9BHUG577CIBHG5B8H<9B5HIF95B88IF5H=CBC:H<9

F9@5H=CBG<=D CF7CFF9GDCB89BH65B?=B;7IGHCA9FGH<5H5F95@GC:CF9=;B:=B5B7=5@=BGH=HIH=CBGH<9

8I98=@=;9B79G<CI@87CBG=89FF95GCB56@M5J5=@56@9=B:CFA5H=CB5GHCH<97IGHCA9FUGCKB%$

F97CF8H<9HMD9GC:7IGHCA9FG5B8A5F?9HGG9FJ985B8H<9%$F9;=A9=BH<97@=9BHUG<CA9

>IF=G8=7H=CB 

                =B5B7=5@=BGH=HIH=CBGAIGH5@GC7CB8I7H#0F9J=9KG:CF957<7@=9BHF9@5H=CBG<=D

5H=BH9FJ5@G7CAA9BGIF5H9HCH<9%$F=G?GDCG986MH<97@=9BH=B7@I8=B;F9J=9K=B;577CIBH

57H=J=HMHC89H9FA=B9K<9H<9FGI7<57H=J=HM:=HGK=H<K<5HKCI@8<5J9699B9LD97H98;=J9BH<9

B5HIF9C:H<9577CIBH 57<7@=9BHUG%$F=G?G<CI@85@GC69F9 5GG9GG98=:A5H9F=5@B9K

=B:CFA5H=CBCFIB9LD97H98577CIBH57H=J=HM=G=89BH=:=98 

                =B5B7=5@=BGH=HIH=CBGAIGH5@GC9GH56@=G<7F=H9F=5:CF89H9FA=B=B;K<9B57@=9BH

F9@5H=CBG<=DDCG9GHCC<=;<C:5F=G?5B8H<9F9:CF9AIGH69H9FA=B5H98 :=B5B7=5@=BGH=HIH=CBA5M

69@=56@9IB89F5DD@=756@9@5KG=:=HA5=BH5=BGGI7<5F9@5H=CBG<=D89GD=H9F9D95H98=B8=75H=CBGC:

:57=@=H5H=CBC:=ADFCD9FHF5BG57H=CBG 

                +<99D5FHA9BH<5G89H9FA=B98H<5H9IHG7<95B?:5=@98=BJ5F=CIGF9GD97HGHC

A99HH<9G9C6@=;5H=CBG:I@@MK=H<F9GD97HHCH<F998=::9F9BH7IGHCA9FF9@5H=CBG<=DGCB98=F97H

7IGHCA9FF9@5H=CBG<=DK=H<"9::F9MDGH9=B5B89BH=H=9GF9@5H98HC%F DGH9=B5B8HKC8C@@5F



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7@95F=B; 7CFF9GDCB89BH65B?=B;F9@5H=CBG<=DGK=H<:CF9=;B65B?G%5B85BG?9 57<K=@@

69588F9GG98=BHIFB 

     +<95B?UG)9@5H=CBG<=DK=H<"9::F9MDGH9=B5B8)9@5H98BH=H=9G

              "9::F9MDGH9=BK5G5K95@H<M:=B5B7=9FK=H<<IB8F98GC:A=@@=CBGC:8C@@5FG=B

5GG9HG5B85B9LH9BG=J9B9HKCF?C::F=9B8G5B87CBB97H=CBGH<5H=B7@I898DFCA=B9BH:=B5B7=5@

=BGH=HIH=CBGDC@=H=7=5BGFCM5@HM5B86=@@=CB5=F9G 9IHG7<95B?A5=BH5=B985F9@5H=CBG<=DK=H<

%F DGH9=B5B8F9@5H98=B8=J=8I5@G5B89BH=H=9G:FCAI;IGH     IBH=@979A69F  HH<5H

DC=BHH<95B?897=898HCH9FA=B5H9H<=GF9@5H=CBG<=D:C@@CK=B;588=H=CB5@B9;5H=J9DF9GGF9@5H98

HC%F DGH9=BUGD5GH7F=A=B5@7CB8I7H 

              %F DGH9=B5@GC<585K9@@ DI6@=7=N98F9DIH5H=CBF9@5H98HCH<9HF5::=7?=B;5B8

56IG9C:MCIB;KCA9B @@9;5H=CBG5;5=BGH<=A69;5B5DD95F=B;=BH<9DF9GG5G95F@M5G%5F7<

 K=H<H<9577IG5H=CBH<5H<9D5=85  M95FC@8;=F@:CF5RA5GG5;9 S

               +<5HM95FH<9(5@A957<@CF=85(C@=799D5FHA9BH7CAA9B7985B

=BJ9GH=;5H=CB=BHC5@@9;5H=CBG5;5=BGH%F DGH9=BF9@5H98HC<=G57H=J=H=9G=B(5@A957< +<9

=BJ9GH=;5H=CBEI=7?@MIB7CJ9F988CN9BGC:CH<9F5@@9;98J=7H=AG !BD5FH=7I@5FH<9=BJ9GH=;5H=CB

=89BH=:=985BIA69FC:=B8=J=8I5@GK<CK9F9F9GDCBG=6@9:CFF97FI=H=B;MCIB;KCA9BHC7CA9HC

%F DGH9=BUG<CIG9HC;=J9RA5GG5;9GSCFCH<9FK=G9:IFH<9F=B;<=G56IG9 (F9GGF9DCFHGGH5H9

GCA9C:H<9G9KCA9BHC@8J=7H=AGH<9MG<CI@8=B:CFA%F DGH9=BH<5HH<9MK9F9 M95FGC@8

5B8F9DF9G9BH98HCJ=7H=AGH<5HH<9MKCI@869D5=8:CFD9F:CFA=B;GI7<RA5GG5;9G S

               77CF8=B;HCDF9GGF9DCFHG=B H<9*H5H9HHCFB9M<5B8@=B;H<975G95:H9F

A99H=B;DF=J5H9@MK=H<5B5HHCFB9MF9DF9G9BH=B;%F DGH9=BF9:9FF98H<975G9HC5GH5H9;F5B8

>IFM=BGH958C:7<5F;=B;DGH9=B5B87C 7CBGD=F5HCFG:CF7F=A9G:CFK<=7<@C75@DC@=7969@=9J98

H<9F9K5G56IB85BH9J=89B79 G5F9GI@HH<9(5@A957<(C@=79<=9:DI6@=7@M89BCIB798H<9



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*H5H9HHCFB9M5B8F9:9FF98H<975G9HCH<9989F5@IF95IC:!BJ9GH=;5H=CBK<=7<GI6G9EI9BH@M

CD9B98=HGCKB=BJ9GH=;5H=CB5B8=BH9FJ=9K98DCH9BH=5@K=HB9GG9G5B8J=7H=AG 

             !B*9DH9A69F %F DGH9=B5;F998HCD@958;I=@HMHCHKCDFCGH=HIH=CB7<5F;9G

=BGH5H97CIFH=B7@I8=B;H<9GC@=7=H5H=CBC:5A=BCFHC9B;5;9=BDFCGH=HIH=CB=B9L7<5B;9:CF5

89:9FF98DFCG97IH=CB5;F99A9BHDFCJ=8=B;<=AK=H<=AAIB=HM:FCA9LH9BG=J9:989F5@G9L

HF5::=7?=B;7<5F;9G +<9895@=B7@I8985B  ACBH<G9BH9B795B8%F DGH9=BK5G5@GCF9EI=F98

HCF9;=GH9F5G5G9LC::9B89FIDCB<=GF9@95G9 %F DGH9=BI@H=A5H9@MG9FJ98CB@M ACBH<GC:

<=G  ACBH<G9BH9B79=BH<9(5@A957<CIBHM>5=@5B8K5G5@@CK98KCF?F9@95G9DF=J=@9;9G

H<5H9B56@98<=AHC@95J9>5=@G=L85MG5K99?:CFHK9@J9<CIFG585M 

             !B %F DGH9=BUGBCB DFCG97IH=CB5;F99A9BHK=H<H<9, * 9D5FHA9BHC:

"IGH=79K5GA589DI6@=7K<9B=HK5GIBG95@98=B7CBB97H=CBK=H<CB9C:G9J9F5@7=J=@GI=HG6M<=G

5@@9;98J=7H=AG +<95;F99A9BH5ACB;CH<9FH<=B;GCIH@=B9G89H5=@G:FCAH<9=BJ9GH=;5H=CB

=B7@I8=B;H<5H%F DGH9=BA5M<5J97CBGD=F98HCIG95:57=@=HMCFA95BGC:=BH9FGH5H97CAA9F79

HC=B8I79A=BCFGHC9B;5;9=BDFCGH=HIH=CBHC9B;5;9=B=@@=7=HG9LI5@7CB8I7HK=H<A=BCFG

7CBGD=F=B;K=H<CH<9FGHC8CH<9G5A95B8HF5::=7?=B;A=BCFG +<5H5;F99A9BH5@GCBCH9GH<5HH<9

,B=H98*H5H9G<587CAD=@98R5@=GHC:=B8=J=8I5@GK<CA=H2<583=89BH=:=985GJ=7H=AGS5B8H<5H

%F DGH9=BKCI@8D5M:CF@9;5@F9DF9G9BH5H=CB:CFH<9G95@@9;98J=7H=AG 

             !B899869HK99B 5B8 DF9GGF9DCFHGCIH@=B98H<95@@9;5H=CBGIB89F@M=B;

H<9D@955;F99A9BH5B8HCJ5FM=B;89;F99G89H5=@98H<9=BJC@J9A9BHC:%F DGH9=BUG5@@9;987C

7CBGD=F5HCFG=B7@I8=B;H<F99=B8=J=8I5@G<9F9=B5:H9F=89BH=:=985G' '&*(!)+') '

'&*(!)+') 5B8' '&*(!)+')  *CA95FH=7@9GF9DCFH98H<5H'

'&*(!)+')* 5B8<58=BJC?98H<9=F=:H<A9B8A9BHF=;<H5;5=BGHG9@: =B7F=A=B5H=CB

5B8CH<9FGF9DCFH98H<5H' '&*(!)+')<585@@9;98@MF97FI=H98IB89F5;9;=F@GHC;=J9



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%F DGH9=BRA5GG5;9G S+<9B5A9GC:H<9G9KCA9B5B8G9J9F5@CH<9F5@@9;987C 7CBGD=F5HCFG

K9F9DI6@=7@M?BCKB6M  

             88=H=CB5@@MDF9GGF9DCFHG8IF=B;H<=GH=A9BCH985@@9;5H=CBGH<5H%F DGH9=BK5G

=BJC@J98K=H<5GH9FBIFCD95BKCA9B=BD5FH=7I@5F5B8H<5H5AC89@=B;5;9B7M<9<9@D98:IB8

6FCI;<HRMCIB;;=F@G   C:H9B:FCA5GH9FBIFCD9SHCH<9, * CB%F DGH9=BUGDF=J5H9>9HG 

          ,+*! &#&')(*+"&"& 

             !B95F@M %F DGH9=BK<C<58699B65B?=B;K=H<CB9C:9IHG7<95B?UG

7CAD9H=HCFG<9F9=BR,*&# S69;5BH<9DFC79GGC:ACJ=B;<=G5GG9HGHC9IHG7<95B? 

             +<9F9@5H=CBG<=D69HK99B9IHG7<95B?5B8%F DGH9=B75A956CIHH<FCI;<5

9IHG7<95B?F9@5H=CBG<=DA5B5;9F<9F9=BR)$+!'&* !(%&) SK<C<58@9:H

,*&# HC>C=BH<95B?UGDF=J5H9K95@H<89D5FHA9BH H,*&# )$+!'&* !(

%&) <58699B5A9A69FC:H<9H95AG9FJ=7=B;%F DGH9=BUG577CIBHG 

             )$+!'&* !(%&) >C=B989IHG7<95B?=B&CJ9A69F                     5B8

GCCB5:H9F>C=B=B;9IHG7<95B?GI;;9GH98HCG9B=CFA5B5;9A9BH=B9IHG7<95B?H<5H%F 

DGH9=BK5G5DCH9BH=5@7@=9BHK<C7CI@8;9B9F5H9A=@@=CBGC:8C@@5FGC:F9J9BI95GK9@@5G@958G

:CFCH<9F@I7F5H=J97@=9BHGHCH<95B? @H<CI;<=H=GIB7@95FK<CA589H<9=B=H=5@7CBH57H

)$+!'&* !(%&) 5B8%F DGH9=B69;5B8=G7IGG=CBG=BH<9GDF=B;C: 56CIH

5DCH9BH=5@F9@5H=CBG<=D69HK99B9IHG7<95B?5B8%F DGH9=B 

             !BDF=@C: =BDF9D5F5H=CB:CF%F DGH9=BUGCB6C5F8=B;5>IB=CF

F9@5H=CBG<=D7CCF8=B5HCFCBH<9DGH9=B577CIBH<9F9=BR)$+!'&* !('')!&+')

    SDF9D5F985A9ACF5B8IA:CF)$+!'&* !(%&) HCG9B8HCH<95B?UGH<9BC

    958C:H<9.95@H<%5B5;9A9BHA9F=75G;FCID<9F9=BR/,+!- S5B8H<9<=9:

'D9F5H=B;'::=79FC:.95@H<%5B5;9A9BHA9F=75G<9F9=BR/,+!- S 



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               ACB;CH<9FH<=B;GH<9A9ACF5B8IA7CBH5=B98=B:CFA5H=CB7CB79FB=B;%F 

DGH9=BUGDF9J=CIGD@95895@5B8DF=GCBG9BH9B79 !BD5FH=7I@5FH<9A9ACF5B8IAGH5H98H<5H

RDGH9=BK5G7<5F;98K=H<GC@=7=H=B;5BIB89F5;9DFCGH=HIH=CB2*!3=B SH<5HR2<39G9FJ98

    ACBH<GCIHC:<=G ACBH<G9BH9B79S5B8H<5HR2<39K5G577IG98C:D5M=B;MCIB;KCA5B

2*!3:CFA5GG5;9G=B<=G@CF=85<CA9 S!H5@GC<=;<@=;<HGH<5H%F DGH9=BK5G=BJC@J98=B 

CIH C: 7CIFH7=J=@G9HH@9A9BHGF9@5H98HC<=G7CB8I7H=BH<9 7CBJ=7H=CB 

               !BH<99A5=@HC/,+!- 5B8/,+!- 5HH57<=B;H<9A9ACF5B8IA

)$+!'&* !(%&) BCH98<CK@I7F5H=J9H<9F9@5H=CBG<=D7CI@869GH5H=B;

R293GH=A5H98:@CKGC:       2A=@@=CB3CJ9FH=A92*!3DCGG=6@MACF9K F9J9BI9C: 

A=@@=CB5BBI5@@MCJ9FH=A9    S!BH<9G5A99A5=@)$+!'&* !(%&) DFCDCG98

H<5H5@@DGH9=B F9@5H98577CIBHG69:CFR9BH=H=9GS5::=@=5H98K=H<%F DGH9=BRBCHD9FGCB5@

577CIBHG S

              'B%5M /,+!- G9BH5B9A5=@<9F9=B5:H9FH<9RDDFCJ5@

A5=@SHC)$+!'&* !(%&) K<=7<F958RGDC?9K=H<2H<9 958C:%$

CAD@=5B79:CF9IHG7<95B?A9F=75G5B8H<9H<9B 9B9F5@CIBG9@:CF9IHG7<95B?

A9F=75GK<C5HH<5HH=A9G9FJ985G7<5=FC:H<95B?UGA9F=75G)9DIH5H=CB5@)=G?CAA=HH99

R))S3 &9=H<9FGI;;9GH2H<5HH<9DGH9=BF9@5H=CBG<=D3F9EI=F9GF9DF=G?5B8K975BACJ9

5<958GC@CB;5GBCH<=B;:IFH<9F=G=89BH=:=98H<FCI;<#05B8%$7@=9BH58CDH=CBG S+<9

5B?<5GF9DF9G9BH98HCH<99D5FHA9BHH<5H=H<5GBCCH<9FF97CF8C:H<=G7CAAIB=75H=CB

69HK99B/,+!- 5B8H<9CH<9FC::=79FG5B8H<9))8=8BCHA99H=B7CBB97H=CBK=H<

H<9=B=H=5@CB6C5F8=B;C:%F DGH9=B 

              R)9DF=G?S5GF9:9F9B798=BH<9DDFCJ5@A5=@F9:9FF98HC5F9J=9K6MH<9

F9@9J5BHF9;=CB5@F9DIH5H=CB5@F=G?7CAA=HH99 9IHG7<95B?UGDC@=7=9G5B8DFC798IF9GDFCJ=89



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H<5HG<CI@859IHG7<95B?6IG=B9GGCF7CAD@=5B79IB=H=89BH=:M57@=9BHH<5HH<9M69@=9J97CI@8

DCG95F9DIH5H=CB5@F=G?HCH<95B?H<9MAIGH9G75@5H9H<5H7@=9BH:CFF9J=9K6MH<95HH9B85BH

F9DIH5H=CB5@F=G?7CAA=HH99 !BH<975G9C:H<9CB6C5F8=B;C:H<9DGH9=BF9@5H=CBG<=DH<=GK5G

H<9)) 

              +<9F9@5H=CBG<=D69HK99B9IHG7<95B?5B8%F DGH9=BC::=7=5@@M69;5BCB

I;IGH  K<9BH<95B?CD9B986FC?9F5;9577CIBHG:CF*CIH<9FB+FIGHCAD5BM!B7 5

G9@: 89G7F=698R85H565G97CAD5BM5B8G9FJ=79GS:CIB898=BH<9, * -=F;=B!G@5B8G=B        5B8

*CIH<9FB=B5B7=5@$$5K<C@@MCKB98GI6G=8=5FMC:*CIH<9FB+FIGHCAD5BM!B7 77CF8=B;

HCH<9#0F97CF8H<9DIFDCG9GC:H<96FC?9F5;9577CIBHGK9F9HCR<C@8A5F?9H56@9G97IF=H=9G

5B875G<S5B8RHC=BJ9GH@CB;H9FA2*!3K=H<H<965B?SF9GD97H=J9@M 'J9FH<97CIFG9C:H<9

F9@5H=CBG<=D%F DGH9=B<=GF9@5H989BH=H=9G5B85GGC7=5H9GKCI@89J9BHI5@@MCD9B5B8:IB8

ACF9H<5B 577CIBHG5HH<95B? 

              5B?%$7CAD@=5B79C::=79F7@95F98H<9F9@5H=CBG<=D65G98CB/,+!-

    UGDDFCJ5@A5=@ +<95B?F9DF9G9BH98H<5HH<9F9=GBC=B8=75H=CBH<5HH<9%$7CAD@=5B79

C::=79FGDC?98=F97H@MK=H</,+!- CFK=H<H<9CH<9FCAD@=5B79CF$9;5@C::=79FG

A9BH=CB98=BH<9DDFCJ5@A5=@ 

          (*+"&* ,+*! &# ',&+*+'&  "&,*(""',*)&*+"'&*

              FCAH<9H=A9C:%F DGH9=BUGCB6C5F8=B;H<9F9@5H=CBG<=DK5G7@5GG=:=986M

9IHG7<95B?5GR<=;< F=G?S5B8H<9F9:CF9GI6>97HHC9B<5B7988I98=@=;9B79 @H<CI;<H<9

5B?8=8BCH=B=H=5@@M7@5GG=:M%F DGH9=B5G5DC@=H=75@@M9LDCG98D9FGCBR((SH<95B?8=8

89G=;B5H9<=A5BR CBCF5FM((S6975IG9C:<=G7CBB97H=CBGHCDFCA=B9BHDC@=H=75@:=;IF9G +<9

<=;< F=G?7@5GG=:=75H=CB5B8=B:CFA5@89G=;B5H=CB5G5B CBCF5FM((F9GI@H98=B9B<5B798




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HF5BG57H=CBACB=HCF=B;C:57H=J=HMK=H<=BDGH9=BUG577CIBHG  CK9J9F5B85G8=G7IGG9869@CK

H<=GG7FIH=BMK5GBCHH5=@CF98HCH<9GD97=:=7F=G?GH<5H<9DCG98 

              G95F@M5G&CJ9A69F  <CK9J9F%F DGH9=B5B8<=GF9DF9G9BH5H=J9G

69;5BIG=B;9IHG7<95B?577CIBHGHCG9B8K=F9GHCD9CD@9K<C<58699B5@@9;98HC697C

7CBGD=F5HCFG=B<=GD5GH7F=A=B5@C::9BG9G 'J9FH<97CIFG9C:H<9F9@5H=CBG<=D%F DGH9=B5B8

<=GF9DF9G9BH5H=J9GIG989IHG7<95B?577CIBHGHCG9B88CN9BGC:K=F9G8=F97H@M5B8=B8=F97H@M

=B7@I8=B;5H@95GH K=F9G=BH<95ACIBHC:         CFACF9HC5@@9;987C 7CBGD=F5HCFGK<C<58

699BH<9GI6>97HC:D5GHDF9GGF9DCFHG=B7@I8=B;' '&*(!)+')*  5B8  +<95B?

K5GBCH5@K5MG5K5F9H<5HH<9F97=D=9BHGC:K=F9HF5BG:9FGK9F95@@9;987C 7CBGD=F5HCFG CF

9L5AD@9H<9K=F9HF5BG:9FG=B&CJ9A69F K9F9A589HC5B9BH=HMH<5HK5GCB@M@5H9F

DI6@=7@M5GGC7=5H98K=H<57C 7CBGD=F5HCF=B  G89G7F=698:IFH<9F69@CK<CK9J9FH<9

7CBB97H=CBK5GA5896M5B?D9FGCBB9@:CF79FH5=BHF5BG57H=CBG 

              'B"5BI5FM 9IHG7<95B?CD9B987<97?=B;5B8ACB9MA5F?9H

577CIBHG:CF5BDGH9=B F9@5H98HFIGHB5A98R+<9IHH9F:@M+FIGH S+<9IHH9F:@M+FIGH=B7@I8985

BIA69FC:69B9:=7=5F=9G=B7@I8=B;5ACB;CH<9FG' '&*(!)+')* 5B85BIA69FC:

KCA9BK=H<5GH9FBIFCD95BGIFB5A9G .<9B5B?D9FGCBB9@5G?98DGH9=B5B8DGH9=BUG

F9DF9G9BH5H=J9G56CIH<=GF9@5H=CBG<=DK=H<H<969B9:=7=5F=9GDGH9=BF9DF9G9BH98H<5HH<9MK9F9

9AD@CM99GCF:F=9B8G +<95B?UG#0F97CF8GGH5H9H<5HH<9DIFDCG9C:H<9ACB9MA5F?9H

577CIBHK5GRHCD5M5@@9LD9BG9G 8=G6IFG9A9BHGF9@5H98HCH<9HFIGH2GI7<5G3H5L9GHFIGH:99

2*!39H7 S

              +<9IHH9F:@M+FIGH577CIBHGK9F9@=?9H<9CJ9F5@@DGH9=BF9@5H=CBG<=D=HG9@:

5DDFCJ98:CFCB6C5F8=B;65G98CBH<995F@=9FDDFCJ5@A5=@:FCA/,+!- 89GD=H9

5DD5F9BHF9DIH5H=CB5@5B8DCGG=6@9:=B5B7=5@7F=A9F=G?G *D97=:=75@@MH<969B9:=7=5F=9GC:H<9



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IHH9F:@M+FIGH=B7@I8985ACB;CH<9FG' '&*(!)+')*  +<99L=GH9B79C:7C

7CBGD=F5HCFG5G69B9:=7=5F=9GC:H<9HFIGH7F95H98H<9J9FMF95@F=G?H<5HD5MA9BHGH<FCI;<H<9

+FIGH7CI@869IG98HC:IFH<9FCF7CJ9FID7F=A=B5@57H=J=HM5B8D9F<5DG9J9BHC9B85B;9FACF9

MCIB;KCA9B 

                HH<9H=A9C:CB6C5F8=B;C:H<9IHH9F:@M+FIGH577CIBHG5B?D9FGCBB9@K9F9

5K5F9H<5HCB9C:H<9+FIGHUG69B9:=7=5F=9GK5G5B5@@9;987C 7CBGD=F5HCFC:DGH9=BUGDF=CF

C::9BG9G !B'7HC69F     57CAD@=5B79C::=79FD9F:CFA98657?;FCIB87<97?GCBH<9

69B9:=7=5F=9GC:H<9HFIGH5B8:@5;;98:CF)$+!'&* !('')!&+') H<5HCB9C:H<9

69B9:=7=5F=9G' '&*(!)+') <58699B5@@9;98HC69CB9C:DGH9=BUG7C 7CBGD=F5HCFG 

!BF9D@M)$+!'&* !('')!&+') 7CB:=FA98H<5HR2' '&*(!)+') 3K5G

577IG985G57C 7CBGD=F5HCF=B575G96IHK5GB9J9F6FCI;<HHCHF=5@BCF9J9F7CBJ=7H98    +<9

577CIBH:CFK<=7<G<9K=@@695GGC7=5H98=G5HFIGH577CIBHK<=7<B5A9G<9F5G569B9:=7=5FM S

+<95@9FHK5G7@95F987=H=B;H<9DDFCJ5@A5=@:FCAL97IH=J9       

                .<=@9DGH9=B<9@8577CIBHG5H9IHG7<95B?<9IG98H<9IHH9F:@M+FIGH

577CIBH5B8J5F=CIGCH<9F577CIBHGHCG9B8CJ9F  K=F9GHCH5@=B; A=@@=CBHC69B9:=7=5F=9G

C:H<9IHH9F:@M+FIGH=B7@I8=B;GCA9HF5BG:9FGHC5@@9;987C 7CBGD=F5HCFGCFKCA9BK=H<5GH9FB

IFCD95BGIFB5A9G:CFH<9GH5H98DIFDCG9C:7CJ9F=B;<CH9@9LD9BG9GHI=H=CB5B8F9BH 

               @H<CI;<D5MA9BHGF9@5H98HC@9;5@9LD9BG9G5F9BCH=B<9F9BH@MGIGD=7=CIG%F 

DGH9=B5@GCIG98<=GJ5F=CIG577CIBHG:CFK<5H5DD95FHC<5J9699BAI@H=D@9G9HH@9A9BH

D5MA9BHGHCH5@=B;CJ9FA=@@=CBHC@5K:=FAG5GK9@@5G8CN9BGC:D5MA9BHGHC@5K:=FAG

HCH5@=B;CJ9FA=@@=CB:CFK<5H5DD95FHC<5J9699BH<9@9;5@9LD9BG9GC:%F DGH9=B5B87C

7CBGD=F5HCFG 




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            HH<99B8C: 5B8=BHC H<95B?UGBH= =B5B7=5@F=A989D5FHA9BH

9G75@5H98=GGI9G7CB79FB=B;%F DGH9=B +<9:=FGH=GGI95FCG9=B7CBB97H=CBK=H<H<95B?UG

CD9B=B;C:5@C65@%5F?9HG577CIBH:CF%F DGH9=B !B"5BI5FM 8IF=B;H<9CB6C5F8=B;

DFC79GG:CFH<5H577CIBH5B%$CAD@=5B79'::=79FR%$'!) S=89BH=:=98F979BH

89J9@CDA9BHG=BH<9DF9GG7CB79FB=B;%F DGH9=B=B7@I8=B;55"IB9     :989F5@5DD95@G

7CIFHFI@=B;H<5HGCA9C:%F DGH9=BUG5@@9;98J=7H=AGKCI@869;F5BH985779GGHCH<989H5=@GC:

H<9 D@9565F;5=BDCH9BH=5@@MF9CD9B=B;H<9=F75G9G5B86588=H=CB5@5@@9;5H=CBG=BH<9

DF9GGF9;5F8=B;%F DGH9=BUGF9@5H=CBG<=DGK=H<5DFCA=B9BH:CFA9F, * DC@=H=7=5B5B85

A9A69FC:5IFCD95BFCM5@:5A=@M 

            %$'!) 9G75@5H98H<9G9=GGI9GHC5ACF9G9B=CF%$C::=79FR%$

'!) S !BF9GDCBG9%$'!) =B=H=5@@MBCH98H<5HH<9G5A9B9;5H=J95@@9;5H=CBG

5;5=BGHDGH9=B<58699B5DDFCJ986M/,+!- H<9:CFA9F 958C:%$5B8H<9:CFA9F

9B9F5@CIBG9@:CFH<9A9F=75G5B85HH57<9857CDMC:H<9DDFCJ5@A5=@ %$'!) 

F9GDCB898H<5HH<9MG<CI@8GH=@@FIBH<9=GGI96MH<9H<9B 958C:A9F=75G6975IG9H<9

DDFCJ5@A5=@K5GRBCH58=F97H5DDFCJ5@6M2H<9 958C:%$CAD@=5B79:CF9IHG7<95B?

A9F=75G5B8H<92H<9B39B9F5@CIBG9@:CF9IHG7<95B?A9F=75G3=HUG5GH5H9A9BH6M5

:FCBHC::=79%56CIH<=G7CBJ9FG5H=CBK=H<H<9A5B8H<9=F5@@9;98CD=B=CBBCHHC9G75@5H9HC)9D

)=G?SH<9 958C:%$CAD@=5B79K5GBC@CB;9F5HH<95B?5B8H<9F9K9F9B9K

89J9@CDA9BHG=BDGH9=BUG75G9H<5H7CI@8@958HCH<9F9CD9B=B;C:<=G    7CBJ=7H=CB 

            G5F9GI@HC:H<9G98=G7IGG=CBG5B8588=H=CB5@A98=5F9DCFHGF9;5F8=B;DGH9=BUG

5GGC7=5H=CBK=H<DFCA=B9BHDC@=H=75@:=;IF9G%$'!) DIHH<9EI9GH=CBC:K<9H<9FHC

9G75@5H969:CF9/,+!- K<C5;F998HC9G75@5H9HCH<9)) !BH<99A5=@HC

/,+!- %$'!) BCH98H<5HH<97CAAIB=75H=CBIB89FD=BB=B;H<9DDFCJ5@
                                                   
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$9HH9FC77IFF9869:CF9H<9G9B9K89J9@CDA9BHG5B8:CF:IFH<9F657?;FCIB85@GCBCH985ACB;

CH<9FH<=B;GH<5HR263M    IB89F5;9;=F@G<587CA9:CFK5F8K=H<H9GH=ACBMC:DGH9=B

G9LI5@@M5GG5I@H=B;H<9AS5B8H<5HRDGH9=B2<583A5B5;98HCG9HH@95H@95GH @5KGI=HGCIHC:

7CIFH S

            $5H9FH<5HACBH<CB"5BI5FM =BDF9D5F5H=CB:CFH<9))A99H=B;

/,+!- 5B8)$+!'&* !(%&) A9H=BD9FGCBK=H<%F DGH9=B5H<=G&9K

0CF?<CA9 IF=B;H<9A99H=B;/,+!- 5G?98%F DGH9=B56CIHH<9J9F57=HMC:H<9

F979BH5@@9;5H=CBG5B85DD95F98HC69G5H=G:=986M%F DGH9=BUGF9GDCBG9 +<95B?<5G

F9DF9G9BH98HCH<99D5FHA9BHH<5H=H=GBCH=BDCGG9GG=CBC:7CBH9ADCF5B9CIGF97CF8GF9:@97H=B;

H<9GI6GH5B79C:/,+!- UGA99H=B;K=H<DGH9=B5B8=GBCH5K5F9C:5BMCH<9FGH9DG

H5?9B5HH<9H=A9HC=BJ9GH=;5H9H<9J9F57=HMC:H<95@@9;5H=CBG69MCB8GD95?=B;K=H<%F DGH9=B 

            'B"5BI5FM     A9A69FGC:H<9))A9HHC8=G7IGGH<9DGH9=B

F9@5H=CBG<=D 9GD=H9H<9:57HH<5H9IHG7<95B?UGDC@=7=9G5B8DFC798IF9GA5B85H9H<5H89H5=@98

A=BIH9GC:GI7<A99H=B;G69?9DHH<95B?<5GF9DF9G9BH98HCH<99D5FHA9BHH<5HH<9F95F9BC

F97CF898A=BIH9G:FCAH<5HD5FH=7I@5FA99H=B; $5H9FH<5H85M<CK9J9F5A9A69FC:H<9))

9A5=@98/,+!- HCG5MK=H<CIH9LD@5B5H=CBH<5HH<97CAA=HH99K5GR7CA:CFH56@9K=H<

H<=B;G7CBH=BI=B;SK=H<%F DGH9=B5B8H<5H5BCH<9FA9A69FC:H<97CAA=HH99<58RBCH985

BIA69FC:G=N56@9895@GF979BH@M S

        '&"+"'&*'&+!(*+"&$+"'&*!"() '%%,&"++'"+!)+!$+"'&*!"(
       & )*&')+!$-&+)&*+"'&'&"+')"& %

            +<9:C@@CK=B;K99?5BCH<9FA9A69FC:H<9))H<95B?UG 958C:

CAD@=5B79A9F=75GF9=H9F5H98H<9))UG897=G=CB=B5B9A5=@HCCH<9F9L97IH=J9GGH5H=B;

H<5H))<585;F998HCR7CBH=BI96IG=B9GG5GIGI5@K=H<"9::DGH9=B65G98IDCB

2/,+!- 3UG8I98=@=;9B79J=G=HK=H<<=A S

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              +<5HG5A99A5=@CIH@=B98H<F997CB8=H=CBG<CK9J9FH<5HH<9))D@5798CBH<9

F9@5H=CBG<=D

           5  %F DGH9=BKCI@8695@@CK98HC7CBH=BI9HCR7CB8I7HHF589G5B8HF5BG57H=CBG=B

                 9L=GH=B;577CIBHGK=H<CIHCAD@=5B79DF9 5DDFCJ5@DFCJ=898H<5HH<96IG=B9GG

                 <5889H9FA=B98H<9G9HF5BG57H=CBG8CBCH=BJC@J95BMIBIGI5@5B8 CFGIGD=7=CIG

                 57H=J=HMCF5F9=B5G=N9H<5H=GIBIGI5@@MG=;B=:=75BHCFBCJ9@=BGHFI7HIF9 S

           6  +<95B?UGCFDCF5H95B?=B;5B8*97IF=H=9GIB=HKCI@8695@@CK98HCR5@GC

                 TCD9BU577CIBHGHC:57=@=H5H957H=J=HM5G56CC?=B;A5HH9FK<9F9H<957H=J=HM<5G

                 5@F958M699B5DDFCJ986M2H<95B?UGA9F=75UG.95@H<%5B5;9A9BH8=J=G=CB3 S

           7  +<96IG=B9GGKCI@8RB998HCACB=HCF:CF5BM:IFH<9F89J9@CDA9BHG=B7CBB97H=CB

                 K=H<H<9F9DIH5H=CB5@F=G?C:H<97@=9BHF9@5H=CBG<=D5B8HCF9J=9K

                 HF5BG57H=CBG 57H=J=HM7CB8I7H98=BH<9577CIBHG:CF5BM57H=J=HMG=N9CFGHFI7HIF95G

                 89G7F=698=B2H<9:=FGH7CB8=H=CB3 S

               +<9G9A5B85HCFM7CB8=H=CBGK9F97CAAIB=75H98HCG9J9F5@G9B=CF5B?

D9FGCBB9@IDHC5B8=B7@I8=B;H<95B?UG'C:H<9A9F=75G !B9LD@=756@M<CK9J9FH<9M

K9F95DD5F9BH@MB9J9F7CAAIB=75H98HC5@@A9A69FGC:H<9DGH9=BF9@5H=CBG<=DH95A DGH9=BUG

F9@5H=CBG<=DA5B5;9FG7CBH=BI987CB8I7H=B;6IG=B9GGK=H<DGH9=B=BH<9G5A9A5BB9F5GH<9M

<58DF=CFHCH<9))A99H=B; 

               +<=G:5=@IF9K5GH<9BGI6GH5BH=5@@M7CADCIB898K<9B%$'!) 

DIFDCFH98@MA=G=BH9FDF9H98H<97CB8=H=CBG5G5F9GI@HH<9MK9F95@GCBCH7CAAIB=75H98HCH<9

HF5BG57H=CBACB=HCF=B;H95AF9GDCBG=6@9:CFACB=HCF=B;H<9DGH9=BF9@5H=CBG<=D *D97=:=75@@M

%$'!) =BH9FDF9H98H<97@5IG9RHF5BG57H=CBG2K=H<3IBIGI5@5B8 CFGIGD=7=CIG57H=J=HM

CF5F9=B5G=N9H<5H=GIBIGI5@@MG=;B=:=75BHCFBCJ9@=BGHFI7HIF9SHCA95BHF5BG57H=CBGH<5HK9F9



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IBIGI5@GIGD=7=CIGCFBCJ9@*'%()+'+!()"')!"*+')/'+)&*+"'&*)$++'+!

(*+"&)$+"'&*!"(  97CAAIB=75H98H<=G=BH9FDF9H5H=CBHCH<9F9GHC:H<9HF5BG57H=CB

ACB=HCF=B;H95AF9GDCBG=6@9:CFH<9DGH9=BF9@5H=CBG<=D +<9=BH9FDF9H5H=CBK5G9L9AD@=:=986M

5@5H9F9A5=@9L7<5B;9=B%5F7<C: K<9B5A9A69FC:H<9HF5BG57H=CBACB=HCF=B;H95A

F9GDCB898HC5B5@9FH56CIHD5MA9BHGHC5)IGG=5BAC89@5B8)IGG=5BDI6@=7=HM5;9BHGH5H=B;

R2G3=B79H<=GHMD9C:57H=J=HM=GBCFA5@:CFH<=G7@=9BH=H=GBCH899A98GIGD=7=CIG S

            !BGH958C:ACB=HCF=B;H<9577CIBHG:CF5@@DCH9BH=5@7F=A9G5B8GIGD=7=CIG57H=J=HM

H<5H7CI@869=AD@=75H986M%F DGH9=BUG5@@9;98D5GH7CB8I7H=B7@I8=B;D5MA9BHGHC7C

7CBGD=F5HCFG5B8H<CG9H<5H7CI@869F9@5H98HCG9LHF5::=7?=B;=BJC@J=B;58I@HG%$'!)

CB@M=BGHFI7H98H<9F9@9J5BHHF5BG57H=CBACB=HCF=B;H95AHCJ9F=:MIG=B;=BH9FB9HG95F7<9GH<5H

5BMKCA5B=BJC@J98K=H<HF5BG57H=CBGF9@5H98HCH<9DGH9=BF9@5H=CBG<=DK5G5H@95GH M95FG

C@85B8HCCB@M:@5;HF5BG57H=CBG=:H<9M7CI@8BCH8=G79FB5F5H=CB5@F95GCB:CFH<9HF5BG57H=CB5

GH5B85F8K<=7<<58@=HH@9=:5BM9::97HCBH<95B?UGF9@5H=CBG<=DK=H<%F DGH9=B 

       ! &# '&+"&,+'"&+"&+!$+"'&*!"('))* *("+ "+"'&$$ *

            'B"I@M  %F DGH9=BF9EI9GH985B=B7F95G9=B<=GHF58=B;@=A=HG *9J9F5@

85MG@5H9F5A9A69FC:DGH9=BUG7CJ9F5;9H95AR'-)+%%%) SK<C

K5G5K5F9C:H<9))UG7CB8=H=CBGCBH<9F9@5H=CBG<=D9G75@5H98H<=GF9EI9GHHC%$

'!) K<C=BHIFB9G75@5H98H<9=GGI9HCH<9<5=FA5BC:H<9)) 'B"I@M           

5:H9F7CB:9FF=B;K=H<CH<9FA9A69FGC:H<9))6IHK=H<CIH:CFA5@@MA99H=B;H<9<5=FA5B

F9D@=98HC%$'!) GH5H=B;H<9M<58BCC6>97H=CBG +<9<5=FA5B58898R!5@GC

7<97?98=BK=H<2/,+!- 3@5GHB=;<HHCA5?9GIF9<9GIDDCFHGH<=G5B8<5G<95F8BCH<=B;

B9;5H=J9CBH<97@=9BH 2/,+!- 37CB:=FA986CH< S




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            'B"5BI5FM 5B577CIBH5BHF9DF9G9BH=B;%F DGH9=B<9F9=B

R',&+&+ SF9EI9GH98H<5HH<95B?CD9B56FC?9F5;9577CIBH:CFF5H=HI89A9F=75

%F DGH9=BUGDF=J5H97<5F=HM '-)+%%%) 9G75@5H98H<9F9EI9GHHC%$

'!) K<C8=F97H98H<9=BEI=FMHCH<9*97F9H5FM:CFH<9)) +<9*97F9H5FMC:H<9

))7CB:9FF98K=H<5A9A69FC:H<9))5B8CF89F98H<5H5B9LH9FB5@8I98=@=;9B79F9DCFH

69DF9D5F98CB%F DGH9=B !BF9GDCBG9HCH<9F9EI9GH:CF588=H=CB5@=B:CFA5H=CB

',&+&+ =B:CFA98H<95B?C:%F DGH9=BUGF9G=;B5H=CB:FCAF5H=HI89A9F=755B8

K=H<8F9KH<9F9EI9GHHCCD9BH<9577CIBH G5F9GI@HBC8I98=@=;9B79F9DCFHK5GFIBCB%F 

DGH9=B 

            MDF=@ )$+!'&* !(%&) K5GF9D@57986M5BCH<9F

F9@5H=CBG<=DA5B5;9F<9F9=BR)$+!'&* !(%&) SHC<5B8@9577CIBHG5GGC7=5H98

K=H<%F DGH9=B @H<CI;<)$+!'&* !(%&) <58%F DGH9=BUG#0:=@95B8

<58699BA5895K5F9C:H<9DF=CF9G75@5H=CBC:H<9F9@5H=CBG<=DHCH<9))<9K5GBCHA589

5K5F96M5BMCB95HH<95B?C:H<9H<F997CB8=H=CBGH<9))D@5798CBH<9F9@5H=CBG<=D5:H9F

=HG96FI5FM F9J=9K 

            !B5%5M 9A5=@57CAD@=5B79C::=79FGI6A=HH985B=BEI=FMHC

)$+!'&* !(%&) 56CIHD5MA9BHGHCH<9577CIBHGC:KCA9BK=H<5GH9FB

IFCD95BGIFB5A9G5H5)IGG=5B65B?5B85G?=B;:CF5B9LD@5B5H=CBC:H<9DIFDCG9C:H<9K=F9

HF5BG57H=CBG5B8DGH9=BUGF9@5H=CBG<=DK=H<H<97CIBH9FD5FH=9G :H9FGI6A=HH=B;H<9EI9GH=CBGHC

',&+&+ )$+!'&* !(%&) :CFK5F898',&+&+ UGF9GDCBG9

HCH<97CAD@=5B79C::=79FK<=7<F958R*&++')!&')+,!+!'&')* ''$ S

.<9BH<97CAD@=5B79C::=79F:C@@CK98ID5G?=B;R2K3<M=GH<=G7@=9BHIG=B;H<=G577CIBHHC   

D5MG7<CC@HI=H=CBS)$+!'&* !(%&) F9D@=98R2;39B9F5@@M"9::F9M<5GG9D5F5H9



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577CIBHGHCA5B5;9957<C:<=GDFCD9FH=9G +<=G=GCB9C:H<9A  CK9J9FK<9BA5?=B;CB9 C::

HF5BG:9FGHCD9CD@9<95B8<=G:=B5B79GH5::<5J9H<9:@9L=6=@=HMHCIG95BM577CIBHH<9M@=?9H<5H

=G:IB898 S+<95B?<5GF9DF9G9BH98HCH<99D5FHA9BHH<5H=H<5GBCF97CF8GC:H<97CAD@=5B79

C::=79F5G?=B;:IFH<9F:C@@CK IDEI9GH=CBG5B8H<9HF5BG57H=CBK5G7@95F98 

            !B588=H=CBD5MA9BHG:FCAH<9IHH9F:@M+FIGH577CIBHG5B8CH<9FDGH9=B

577CIBHGK9F9IG98:CF@5KGI=HG9HH@9A9BHD5MA9BHGHC5@@9;98J=7H=AG5B8F9BH@9;5@5B8

=AA=;F5H=CB9LD9BG9GA589HCCFCB69<5@:C:MCIB;5@69=H58I@HKCA9B=B7@I8=B;588=H=CB5@

KCA9BK=H<5GH9FBIFCD95BGIFB5A9G 

         ,+*! &#* .)',*(""',* *! +"-"+/!)', !',++!$+"'&*!"(

            *9J9F5@C:%F DGH9=BUG9AD@CM99GCF5;9BHG<585IH<CF=HMHC7CB8I7H

HF5BG57H=CBG=BH<9577CIBHGCB%F DGH9=BUG69<5@: 'B9C:H<9A%F DGH9=BUGD9FGCB5@

5HHCFB9M<9F9=BR++')&0 SK5G57H=J9=BK=H<8F5K=B;75G<:CF%F DGH9=B 

++')&0 CB69<5@:C:%F DGH9=BA5895HCH5@C:K=H<8F5K5@G:FCAH<95B?UG(5F?

J9BI9&9K0CF?=HMF5B7<:FCA HC             :FCAD9FGCB5@577CIBHG69@CB;=B;HC%F 

DGH9=B +<9HF5BG57H=CBG=BEI9GH=CBC77IFF98FCI;<@MHKCHCH<F99H=A9GD9FACBH<5@@=BH<9

5ACIBHC: D9FK=H<8F5K5@H<95B?UG@=A=H:CFH<=F8 D5FHMK=H<8F5K5@G"K=H<8F5K5@G

A5896M5B5IH<CF=N98IG9FK<C=GBCH5DF=A5FM577CIBH<C@89F .<9B5B?D9FGCBB9@5G?98

++')&0 K<MDGH9=BB9989875G<++')&0 F9D@=98DGH9=BIG98=H:CFHF5J9@

H=DD=B;5B89LD9BG9G 

            ,B89F:989F5@F9;I@5H=CBG65B?G5B8CH<9F:=B5B7=5@=BGH=HIH=CBGAIGH:=@9

IFF9B7M+F5BG57H=CB)9DCFHGR+)GSK=H<H<9, * +F95GIFM9D5FHA9BHK<9BH<9F95F975G<

HF5BG57H=CBGK=H<5B=B8=J=8I5@=B9L79GGC:         =BCB985M F95?=B;IDHF5BG57H=CBGHC

5JC=8H<9+)F9DCFH=B;=G57F=A=B5@C::9BG97CAACB@MF9:9FF98HC5GRGHFI7HIF=B; S.<9B

++')&0 UG75G<57H=J=HMHF=;;9F98F9DCFH=B;F9EI=F9A9BHGH<95B?7CAD@=985B8:=@98H<9
                                                   
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F9EI=G=H9+)G +<95B?5@GCACB=HCF98++')&0 UG57H=J=HM:CFGIGD=7=CIG57H=J=HM

F9DCFH=B; 

              !B%5M ++')&0 =BEI=F98=BHC<CKC:H9B<97CI@8K=H<8F5K75G<CB

69<5@:C:%F DGH9=BK=H<CIHHF=;;9F=B;5B5@9FH +<9F97CF8=GIB7@95F5GHCK<9H<9F5BMCB9

:FCAH<95B?9J9FF9GDCB898HC++')&0 UG=BEI=FM )$+!'&* !('')!&+')

    G9BH5B9A5=@HCH<96F5B7<A5B5;9FGH5H=B;H<5H++')&0 R5G?98<CKC:H9BH<9M7CI@8

7CA9=BHCK=H<8F5K75G<K=H<CIH7F95H=B;GCA9GCFHC:5@9FHS5B85G?=B;R!G=HCB795K99?

+K=795K99?'B799J9FMCH<9FK99?S+<95B?<5GF9DF9G9BH98H<5H=H<5GBCF97CF8C:5BM

F9GDCBG9 )$+!'&* !('')!&+') <5GG=B79F9DF9G9BH98H<5HG<9IB89FGHCC8

++')&0 UG=BEI=FMF9@5H98HC++')&0 UG89G=F9HCK=H<8F5KACF9H<5BH<9 

@=A=H:CFH<=F8 D5FHMK=H<8F5K5@G5B8BCHHC+):=@=B;F9EI=F9A9BHG 

              !B ++')&0 5;5=B=BEI=F9856CIHHF=;;9F=B;5B5@9FH *D97=:=75@@M=B

"I@M ++')&0 <585ACB;CH<9FH<=B;G5G?985H9@@9FK<9H<9F5K=H<8F5K5@

HF5BG57H=CB=B9L79GGC:      KCI@8F9EI=F9F9DCFH=B;5B8IDCB69=B;58J=G98H<5H=HKCI@8

6FC?9IDH<9K=H<8F5K5@HF5BG57H=CBCJ9FHKC85MG !B"I@MC:H<5HM95FA9A69FGC:H<95B?UG

.95@H<%5B5;9A9BH%$HF5BG57H=CBACB=HCF=B;H95A=B7@I8=B;%$'!) A9HHC

8=G7IGGGIGD=7=CBGC:75G<GHFI7HIF=B;HC5JC=87IFF9B7MHF5BG57H=CBF9DCFHGR+)GS6M

++')&0         %$'!) 5ACB;CH<9FGGDC?9K=H<++')&0 5B858J=G98H<5H

5<=GD5HH9FBG;5J9H<95DD95F5B79C:GHFI7HIF=B;6H<=GD5HH9FBK5GIB5779DH56@95B87<9

KCI@869DFCJ=898K=H<588=H=CB5@=B:CFA5H=CB56CIH+)F9DCFH=B;F9EI=F9A9BHG 

++')&0 F9DF9G9BH98H<5H<9<58BCH=BH9B898HCGHFI7HIF975G<K=H<8F5K5@G 5B?

D9FGCBB9@:CIB8++')&0 7F98=6@95B8D9FA=HH98<=AHC7CBH=BI9HCK=H<8F5K75G<:FCA

<=GCKB5B8DGH9=BUG577CIBHG !B    >IGHDF=CFHCH<95B?UG7@CG=B;C:H<9(5F?J9BI9



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F5B7<K<=7<K5G@C75H98B95F6M%F DGH9=BUG<CIG9++')&0 K=H<8F9K                        

=B75G<CB69<5@:C:%F DGH9=B .<9B@5H9FEI9GH=CB98K<M++')&0 K=H<8F9KH<9G9

GIAG:FCAH<95B?++')&0 F9DCFH98H<5H%F DGH9=BB99898H<9:IB8G:CFH=DD=B;5B8

<CIG9<C@89LD9BG9G 

            !BHCH5@=B5FCI;<@M:CIF M95FD9F=C8++')&0 K=H<8F9KCB%F DGH9=BUG

69<5@:ACF9H<5B       =B75G<:FCA%F DGH9=BUGD9FGCB5@577CIBHG +<FCI;<CIHH<9

DGH9=BF9@5H=CBG<=DH<95B?:=@98+)G5DDFCDF=5H9@M6IHH<9F9=GBC=B8=75H=CBH<5HH<95B?

9J9FGCI;<HCFF979=J985BM9LD@5B5H=CB:CFDGH9=BUG75G<57H=J=HM69MCB8H<9HF5J9@H=DD=B;

5B89LD9BG9G9LD@5B5H=CBDFCJ=8986M++')&0            

       )%"&+"'&'+!(*+"&$+"'&*!"(

            !B&CJ9A69F H<9"%")$F9@95G985B5FH=7@9CB%F DGH9=B89H5=@=B;

<=G D@95895@ +<95FH=7@9DFCADH98G9B=CFA9A69FGC:.95@H<%5B5;9A9BHHCF95GG9GGH<9

F9@5H=CBG<=DUGF9DIH5H=CB5@F=G?5B8I@H=A5H9@MH9FA=B5H9H<9DGH9=B)9@5H=CBG<=D 'B979A69F

  H<95B?=B:CFA98%F DGH9=B6M@9HH9FH<5HH<9MKCI@8BC@CB;9F69G9FJ=7=B;<=G

577CIBHG 

            9GD=H9H<95B?UG897=G=CBHCC::6C5F85@@DGH9=B577CIBHG8I9HCF9DIH5H=CB5@

F=G?G)$+!'&* !(%&) 8F5:H98F9:9F9B79@9HH9FGHCHKCCH<9F:=B5B7=5@

=BGH=HIH=CBGCB9IHG7<95B?@9HH9F<958=B8=75H=B;=BCB9GI7<@9HH9FH<5H<9K5GRIB5K5F9C:

5BMDFC6@9AGF9@5H=B;HCH<9CD9F5H=CBCFIG9C:2H<93577CIBHG S

         '&$,*"'&* )"& +!(*+"& ',&+*

            !:5:=B5B7=5@=BGH=HIH=CB897=89GHC8C6IG=B9GGK=H<5<=;< F=G?7@=9BHH<5H

=BGH=HIH=CB=GF9EI=F98HC7CB8I7H8I98=@=;9B797CAA9BGIF5H9K=H<H<5HF=G?5B8HCH5=@CF=HG




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HF5BG57H=CBACB=HCF=B;HC89H97HGIGD=7=CIGCFIB@5K:I@57H=J=HM65G98CBK<5HH<9F=G?=G !BH<=G

75G99IHG7<95B?:5=@98HC8CGC 

            +<95B?UG:IB85A9BH5@:5=@IF9K5GH<5H5@H<CI;<H<95B?DFCD9F@M7@5GG=:=98

%F DGH9=B5G<=;< F=G?H<95B?:5=@98HCG7FIH=B=N9H<957H=J=HM=BH<9577CIBHG:CFH<9?=B8GC:

57H=J=HMH<5HK9F9C6J=CIG@M=AD@=75H986M%F DGH9=BUGD5GH +<95B?K5GK9@@5K5F9BCHCB@M

H<5H%F DGH9=B<58D@98;I=@HM5B8G9FJ98DF=GCBH=A9:CF9B;5;=B;=BG9LK=H<5A=BCF6IH5@GC

H<5HH<9F9K9F9DI6@=75@@9;5H=CBGH<5H<=G7CB8I7HK5G:57=@=H5H986MG9J9F5@B5A987C

7CBGD=F5HCFG 9GD=H9H<=G?BCK@98;9H<95B?8=8@=HH@9CFBCH<=B;HC=BEI=F9=BHCCF6@C7?

BIA9FCIGD5MA9BHGHCB5A987C 7CBGD=F5HCFG5B8HCCFCB69<5@:C:BIA9FCIGMCIB;KCA9BCF

HC=BEI=F9<CK%F DGH9=BK5GIG=B;CB5J9F5;9ACF9H<5B           D9FM95F"&*! 

            .<9H<9FCFHCK<5H9LH9BHH<CG9D5MA9BHGCFH<5H75G<K5GIG986M%F DGH9=BHC

7CJ9FIDC@87F=A9GHC:57=@=H5H9B9KCB9GCF:CFGCA9CH<9FDIFDCG95F9EI9GH=CBGH<5HAIGH69

@9:HHCH<97F=A=B5@5IH<CF=H=9G6IHH<9:57HH<5HH<9MK9F9GIGD=7=CIGG<CI@8<5J9699BC6J=CIGHC

5B?D9FGCBB9@5HJ5F=CIG@9J9@G +<95B?UG:5=@IF9HCF97C;B=N9H<=GF=G?7CBGH=HIH9G5A5>CF

7CAD@=5B79:5=@IF9 

            +<=GGI6GH5BH=J9:5=@IF9K5G7CADCIB8986M5G9F=9GC:DFC798IF5@:5=@IF9G

A=GH5?9G5B8G@CDD=B9GG=B<CKH<95B?A5B5;985B8CJ9FG5KH<9DGH9=B577CIBHG 9GD=H9

H<9B5HIF9C:%F DGH9=BUGDF=CF7F=A=B5@<=GHCFMH<9=B=H=5@CB6C5F8=B;C:H<9:=FGH577CIBHK5G

BCHF9J=9K986MH<95B?UGF9;=CB5@F9DIH5H=CB5@F=G?7CAA=HH996IHK5G=BGH9585DDFCJ98=B

K<5H5DD95FGHC<5J9699B5BC:: <5B87CBJ9FG5H=CBF9:@97H98CB@M=BH<9DDFCJ5@A5=@ +<5H

DDFCJ5@A5=@K5GH<9BF9@=98IDCBGI6GH5BH=5@@MK=H<CIH588=H=CB5@G7FIH=BMHCCD9B

BIA9FCIGCH<9FDGH9=B F9@5H98577CIBHG .<9BH<9F9@5H=CBG<=DK5G:=B5@@M9@9J5H98HCH<9:I@@

))=B95F@M     BCA=BIH9GK9F9H5?9BC:H<5HA99H=B;7CBHF5FMHC5B?DC@=7M5B8H<9



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7CAA=HH99K5GG5H=G:=989BCI;<HC7CBH=BI9H<9F9@5H=CBG<=D65G98DF=A5F=@MCB56F=9:8I9

8=@=;9B79A99H=B;69HK99BHKC:FCBH C::=79D9FGCBB9@5B8%F DGH9=B<=AG9@:H<9GI6GH5B79C:

K<=7<K5G5@GCBCHF9:@97H98=BKF=H=B; %CF9CJ9FH<97CB8=H=CBG=ADCG986MH<9))Q

7CB8=H=CBGH<5H=::C@@CK98A=;<H<5J989H97H985B8DF9J9BH98A5BMGI6G9EI9BHGIGD=7=CIG

HF5BG57H=CBGQ5K9F9BCHHF5BGA=HH98HCH<9A5>CF=HMC:H<9F9@5H=CBG<=DH95A5B86K9F9

A=G=BH9FDF9H986M57CAD@=5B79C::=79F=B5K5MH<5HF9GI@H98=BJ9FM@=HH@97<5B;9=B<CKH<9

ACB=HCF=B;C:H<9577CIBHGC77IFF98;C=B;:CFK5F8 +<FCI;<CIHH<9F9@5H=CBG<=DJ9FM:9K

DFC6@9A5H=7HF5BG57H=CBGK9F99J9FEI9GH=CB985B8K<9BH<9MK9F9H<9MK9F9IGI5@@M7@95F98

K=H<CIHG5H=G:57HCFM9LD@5B5H=CB 

            +<9G99FFCFG5F9IB5779DH56@9=BH<97CBH9LHC:5A5>CF=BH9FB5H=CB5@65B?5B8

=B9L7IG56@9=BH<97CBH9LHC:H<9<9=;<H9B98G7FIH=BMH<5HG<CI@8<5J9C77IFF98=BH<9ACB=HCF=B;

C:5<=;< F=G?7IGHCA9F 

     +<95B?UGCFF9GDCB89BH5B?=B;)9@5H=CBG<=DGK=H<%5B85BG?95B?

             9IHG7<95B?<5G<587CFF9GDCB89BH65B?=B;F9@5H=CBG<=DGK=H<:CF9=;B65B?G

=B7@I8=B;G9J9F5@H<5HK9F9=B<=;< F=G?>IF=G8=7H=CBGCFH<9AG9@J9G<587IGHCA9FGCD9F5H=B;=B

<=;< F=G?=B8IGHF=9G +<99D5FHA9BH<5G7CB7@I898H<5H9IHG7<95B?:5=@98HC589EI5H9@M

ACB=HCF5B8A5B5;9H<CG9F9@5H=CBG<=DG=B7@I8=B;=BD5FH=7I@5FK=H<%5B85BG?9 

        

             !B %K5G9GH56@=G<98=BMDFIG5G5GI6G=8=5FMC:H<9989F5@5B?C:

$965BCBK<=7<K5G:CIB898=B  

            !B"5BI5FM %CD9B9857CFF9GDCB89BH65B?=B;577CIBHK=H<5B?9FG

+FIGHK<=7<9IHG7<95B?57EI=F98=B 5B8@5H9FF9B5A98HC9IHG7<95B?+FIGH

CAD5BMA9F=75GH<CI;<H<=G577CIBHK5GACGH@MIBIG98:CFM95FG5G%8=8@=A=H98



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6IG=B9GGK=H<.9GH9FB:=B5B7=5@=BGH=HIH=CBGIBH=@MDFIGU     5779DH5B79=BHCH<9IFCD95B

,B=CB 

              I9HCMDF=CH@5KGH<5HD@5798F9GHF=7H=CBGCB8CA9GH=7:=B5B7=5@=BGH=HIH=CBGH<5H

DF=A5F=@MDFCJ=898C::G<CF965B?=B;G9FJ=79G%K5G=B7CFDCF5H98=BH<95MA5B!G@5B8G=B

    H<CI;<=HKCI@8F9A5=B<958EI5FH9F985B8GH5::98=BMDFIG !B %UGMDFIG

6F5B7<K5G;F5BH985@=79BG96MH<99BHF5@5B?C:MDFIGHC5GGIA965B?=B;57H=J=H=9GK=H<=B

=HG>IF=G8=7H=CB 

              !BDF=@    %UGMDFIG6F5B7<CD9B985G97CB8577CIBHK=H<+ 

              :H9FH<9*9DH9A69F       H9FFCF=GH5HH57?GCBH<9,B=H98*H5H9G5B8=B

577CF85B79K=H<H<9,*(+)!'+7HH<95MA5B!G@5B8G=AD@9A9BH98@9;=G@5H=CBF9EI=F=B;

5@@65B?GF9;=GH9F98K=H<=BH<97CIBHFMHC9GH56@=G<5D<MG=75@@C75@DF9G9B79 !BF9GDCBG9F5H<9F

H<5B7CAD@M=B;K=H<H<9B9K8=F97H=J9%A5B5;9A9BH9@97H98HC69;=BH<9DFC79GGC:

F9@C75H=B;HC+5BN5B=5 !B %K5GF9=B7CFDCF5H98=B+5BN5B=55B85@GCF979=J985

65B?=B;@=79BG9:FCAH<95B?C:+5BN5B=5 

              MDFIGU5779DH5B79HCH<9IFCD95B,B=CB=B%5MC: DF97=D=H5H98H<957H=J9

7CFF9GDCB89BH65B?=B;F9@5H=CBG<=D69HK99B%5B89IHG7<95B? 'BI;IGH               

%UGMDFIG6F5B7<CD9B985H<=F8577CIBHK=H<+ 

              9IHG7<95B?K5G5K5F9C:DCH9BH=5@=GGI9GK=H<%UG7CAD@=5B79F9;=A9

:FCAJ9FM95F@M=BH<957H=J9D<5G9C:H<97CFF9GDCB89BH65B?=B;F9@5H=CBG<=D %5M 

RBBI5@BH= %CB9M$5IB89F=B;=G7IGG=CBSA9AC:CF%:CF9L5AD@9G<CKGH<5HH<9

5B?K5G5K5F9H<5H

             5  %UGCAD@=5B79'::=79F<95898589D5FHA9BH7CADF=G98C:HKCGH5::

                 A9A69FG



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           6  H<9CAD@=5B79'::=79FK5G5HH<9H=A9RHFM=B;HC89J9@CD5657?C::=79

               7CAD@=5B792*!3S

           7  %K5G5HH<9H=A9GH=@@IG=B;5HF5BG57H=CBACB=HCF=B;GMGH9AH<5HK5G

               D5FH=5@@MA5BI5@5B8

           8  %5HH<9H=A97CBG=89F98H<97CGHC:7CAD@=5B79K=H<%$5B8#0

               F9;I@5H=CBGHC69H<9ACGHG=;B=:=75BH=GGI97<5@@9B;=B;H<9MDFIG65B?=B;G97HCF 

            $5H9F =B H=A9RBH= %CB9M$5IB89F=B;=G7IGG=CBGS:CF%G<CK98H<5H

79FH5=B5GD97HGC:%UG7CAD@=5B79DFC;F5A8=8BCH7<5B;9CJ9FGI6G9EI9BHM95FG5@H<CI;<

H<CG9A9ACG8=8F9:@97HH<5HH<9BIA69FC:%$CAD@=5B79GH5::5H%;9B9F5@@M=B7F95G98

957<M95F69HK99B 5B8 5B8%=AD@9A9BH985IHCA5H98HF5BG57H=CBACB=HCF=B;

5B8G5B7H=CBG7F99B=B;HCC@G=B 5B8      F9GD97H=J9@M 

            'B&CJ9A69F  9IHG7<95B?UG&CFH<A9F=75B@=9BH*7F99B=B;

CAA=HH99R*S5GG=;B98%5)=G?GG9GGA9BHIGHCA9FR)SG7CF9C:9=;<H

H<9F96M89G=;B5H=B;=H5G5<=;< F=G?7@=9BH H9IHG7<95B?)G7CF9G5F9;F5898CB5G75@9

C:CB9HCH9BK=H<CB969=B;H<9@CK9GH@9J9@C:F=G?5B8H9BH<9<=;<9GH @=9BHGK<CF979=J95

G7CF9C:9=;<H5B856CJ95F97CBG=89F98<=;< F=G? 

             IF=B;H<9F9@9J5BHD9F=C8%MDFIGK5G5@K5MGF5H98<=;< F=G?K=H<

9IHG7<95B?UGF97CF8G=B8=75H=B;H<5H=HK5G5GG=;B985)G7CF9CJ9FH<9M95FGC:9=;<HCF

B=B9 +<95B?UGF97CF8GG<CKH<5H%+5BN5B=5CJ9FH<=GH=A9D9F=C8<585)G7CF9C:

G9J9B=B 5B89=;<HH<9F95:H9F 

             HH<9H=A9C:H<9=B=H=5@F=G?F5H=B;=B:CFA5H=CBDFCJ=898HCH<9*=B7@I898

H<5HCH<9F65B?G<585@@9;98=BH<9D5GHH<5H%<58699B5GGC7=5H98K=H<ACB9M@5IB89F=B;

@=B?98HC)IGG=5BCF;5B=N987F=A9  A9ACDFCJ=898HCH<9*GH5H98H<5HH<9,*



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(+)!'+7H5B8H<9,%CB9M$5IB89F=B;=F97H=J9@=A=H98%UG56=@=HMHC7CAA=H

ACB9M@5IB89F=B;=BH<9<MDCH<9H=75@9J9BHH<5H=H7<CG9HC9B;5;9=BGI7<7CB8I7H +<9G5A9

A9ACBCH98H<5HH<99BHF5@5B?C:MDFIGRS<58F9DF9G9BH98HC9IHG7<95B?H<5HH<9

F9;5F898%5G9L79@@9BH:FCA5#05B8%$D9FGD97H=J95B8H<5H%UG

CAD@=5B79'::=79FK5GH<9ACGH9LD9F=9B798=BH<9MDF=CHA5F?9H +<=G=BD5FHG9FJ985GH<9

>IGH=:=75H=CBC:9IHG7<95B?UG7CBH=BI98F9@5H=CBG<=DK=H<% 

           !B"5BI5FM 5:CFA9F5B?=F97HCFC:, * BH= =B5B7=5@F=A9G<9F9=B

R%$'%($!&!)+') S5@CB;K=H<9L97IH=J9G:FCA9IHG7<95B?UGF9979

C::=79A9HK=H<%9L97IH=J9G=BMDFIG 'J9FH<97CIFG9C:H<=GA99H=B;5B8GI6G9EI9BH=B

D9FGCBA99H=B;G9IHG7<95B?9L97IH=J9G6975A9K9@@5K5F9C:H<9GH5H9C:%UG

7CAD@=5B79CD9F5H=CBG5B8DFCJ=8985BBI5@G9A=B5FGCFR%$KCF?G<CDGS:CFMDF=CH7@=9BHG

=B7@I8=B;%GH5FH=B;=B"IB9     

           !B%5F7< %UGMDFIG6F5B7<CD9B985:CIFH<577CIBHK=H<9IHG7<9

5B?UG&9K0CF?F5B7< 

           *=B79 H<95B?=89BH=:=985HCH5@C:GIGD=7=CIGHF5BG57H=CBGH<5H

F9:9F9B798%K=H<5@CB9=B  +<5HM95F9IHG7<95B?D9F:CFA985B5B5@MG=GC:H<9

JC@IA9C:GIGD=7=CIGHF5BG57H=CBGF9@5H98HC%5B87CB7@I898H<5H%DF9G9BH985B

5J9F5;9HC;F95H9F H<5B 5J9F5;9F=G?7CAD5F98HCCH<9F65B?G=B5B5@F958M<=;< F=G?A5F?9H 

           +<=GBIA69F=B7F95G98HC GIGD=7=CIGHF5BG57H=CBG=B 5B89J9BHI5@@M

D95?985H H<9:C@@CK=B;M95F .<=@9H<9BIA69FC:GIGD=7=CIGHF5BG57H=CBG897F95G98HC=B

 H<9F9K5G5G=;B=:=75BH=B7F95G9=B K=H<H<95B?=89BH=:M=B;5HCH5@C:  GIGD=7=CIG

HF5BG57H=CBG7CB79FB=B;% 




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            9GD=H9H<9<=;<BIA69FC:GIGD=7=CIGHF5BG57H=CBG=BF9@5H=CBHC%H<95B?

:57=@=H5H988C@@5F 89BCA=B5H98HF5BG57H=CBGHCH5@=B;ACF9H<5B 6=@@=CBCJ9FH<9

7CIFG9C:H<9F9@5H=CBG<=D 

            !B7CAAIB=75H=CBGK=H<9IHG7<95B?%GCA9H=A9GF9:IG98HC8=G7@CG9=B

KF=H=B;H<9I@H=A5H969B9:=7=5@CKB9FGC:=HGCKB7CFDCF5H97@=9BHG9LD@5=B=B;H<5HGI7<

=B:CFA5H=CB7CI@8BCH69G<5F98K=H<CIHJ=C@5H=B;@C75@@5K CF9L5AD@9=B%5F7<C: 5

9IHG7<95B?C::=7=5@=BF99797CBH57H98%7CB79FB=B;588=H=CB5@=B:CFA5H=CBF9;5F8=B;

'* ')'%(&0               !BF9GDCBG9%GH5H98H<5HH<97CAD5BMK5G5DF=J5H9@M CKB98

7CAD5BMK<CG96IG=B9GG57H=J=H=9G=B7@I898HF58=B;=BG97IF=H=9G5B8H<5H%<587CB8I7H98

H<9=FCKB8I98=@=;9B797<97?GK<=7<=89BH=:=98H<969B9:=7=5@CKB9F  CK9J9F%GH5H98

H<5H=H7CI@8BCHG<5F9H<9IB89F@M=B;=B:CFA5H=CBK=H<H<95B?K=H<CIHJ=C@5H=B;MDF=CH@5K

;CJ9FB=B;7@=9BH7CB:=89BH=5@=HMIB@9GGCF89F986M57CIFHHC8CGC +<F99M95FG@5H9F9IHG7<9

5B?:@5;;985B588=H=CB5@HF5BG57H=CB7CB79FB=B;'* ')'%(&0 BCH=B;H<5HH<9M

<58=BEI=F9856CIHH<9G5A9%7IGHCA9F69:CF9 9GD=H9H<=G@57?C:HF5BGD5F9B7MK=H<

F9GD97HHCH<=G%7IGHCA9F9IHG7<95B?7CBH=BI98=HG65B?=B;F9@5H=CBG<=DK=H<% 

:H9F9IHG7<95B?897=898HC7@CG9H<9%F9@5H=CBG<=D=B"I@M H<9, * CJ9FBA9BH

89H9FA=B98H<5H'* ')'%(&0 UGI@H=A5H969B9:=7=5@CKB9FK5G5)IGG=5B

6IG=B9GGA5BK<CK5G5::=@=5H98K=H<5*MF=5BF9G95F7<:57=@=HMF9GDCBG=6@9:CF89J9@CD=B;5B8

DFC8I7=B;BCB 7CBJ9BH=CB5@K95DCBG 

            +<=GK5G5DD5F9BH@MBCH5B=GC@5H98=B7=89BH @H<CI;<H<99D5FHA9BH<5GBCH

:CIB8H<5HH<95B?K5G5K5F95HH<9H=A9A5BMI@H=A5H969B9:=7=5@CKB9FGC:7@=9BHGC:%

<5J9GI6G9EI9BH@M699B5GGC7=5H98=BH<9DF9GGK=H<RK95DCBGDFC@=:9F5HCFGH9FFCF=GHG5B8

HF5BGB5H=CB5@CF;5B=N987F=A=B5@G S



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             'B"I@M  H<9, * +F95GIFMUG=B5B7=5@F=A9GB:CF79A9BH&9HKCF?

R=B&SB5A98%5:CF9=;B:=B5B7=5@=BGH=HIH=CBC:DF=A5FMACB9M@5IB89F=B;7CB79FB

DIFGI5BHHC*97H=CB C:H<9,*(+)!'+7HH<9R 9G=;B5H=CBS5B8DFCDCG98

DFC<=6=H=B;, * :=B5B7=5@=BGH=HIH=CBG:FCACD9B=B;CFA5=BH5=B=B;7CFF9GDCB89BH577CIBHGCF

D5M56@9H<FCI;<577CIBHG:CFCFCB69<5@:C:% 

              HH<=GH=A99IHG7<95B?K5GH<9@5F;9GHC:H<9:9KF9A5=B=B;.9GH9FB65B?G

H<5H<587CBH=BI98HCA5=BH5=B7CFF9GDCB89BH65B?=B;F9@5H=CBG<=DGK=H<% 

              !BF9GDCBG9HCH<9 9G=;B5H=CB9IHG7<95B?897=8986M"I@M       HC

9B8=HGF9@5H=CBG<=DK=H<% 

             +<99D5FHA9BH7CB7@I89GH<5HH<9<=;< F=G?B5HIF9C:H<9%F9@5H=CBG<=DH<9

F98:@5;GBIA9FCIGGIGD=7=CIGHF5BG57H=CBG5B8CJ9FH@57?C:HF5BGD5F9B7M9L<=6=H986M%

G<CI@8<5J9DFCADH989IHG7<95B?HC9L=HH<9F9@5H=CBG<=D69:CF9H<9    9G=;B5H=CBM9H=H

:5=@98HC8CGC 

          &*#*+'&"

             !B 5BG?95B? *H<9@5F;9GH:=B5B7=5@=BGH=HIH=CB=B9BA5F?57EI=F98

H<95@H=76IG=B9GGC:5=BB=G<:=B5B7=5@=BGH=HIH=CB*5ADC5B? +<9G9;A9BHC:H<96IG=B9GG

@C75H98=BH<9B5H=CBC:GHCB=56975A9?BCKB5G5BG?9GHCB=5 

             +<9F9@5H=CBG<=D69HK99B9IHG7<95B?5B85BG?9GHCB=569;5BCB'7HC69F 

   K=H<H<9@5HH9F=BGH=HIH=CBUGCD9B=B;C:57CFF9GDCB89BH65B?=B;577CIBHK=H<9IHG7<9

5B? 9IHG7<95B?5GG=;B985BG?9GHCB=55)*7CF9C:9=;<H=B       "<=;< F=G?8I9

HC5BG?9GHCB=5UG<=;< F=G?>IF=G8=7H=CBH<9JC@IA9C:%$5@9FHG5B875G9G=BJC@J=B;5BG?9

GHCB=5UG7IGHCA9FG5B8H<9<=;< F=G?A5F?9HG9;A9BHGG9FJ=7986M5BG?9GHCB=5 




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             975IG9=HK5G5<=;< F=G?7@=9BH5BG?9GHCB=5K5GF9EI=F98HCIB89F;C5BBI5@

8I98=@=;9B79F9J=9KG5GD5FHC:H<95B?UG#0DFC79GG:CF7CFF9GDCB89BH65B?=B;7@=9BHG +<=G

DFC79GG=B7@I89858=G7IGG=CB69HK99BH<97@=9BHF9@5H=CBG<=DA5B5;9F5B85BG?9GHCB=5

D9FGCBB9@:C7IG98CB%$5B8#0=GGI9G=B7@I8=B;5BM7<5B;9G=BH<9F9@9J5BH@5KG5B8

F9;I@5H=CBG7<5B;9GHCH<97@=9BHUG=BH9FB5@DC@=7=9G5B8DFC798IF9GA5>CF65B?=B;=GGI9G=BH<9

7@=9BHUG7CIBHFM5B8H<97@=9BHUGF=G?5B5@MG=GC:=HGCKB7IGHCA9FG 

             M"IB9 9IHG7<95B?K5G5K5F9C:=GGI9G5H5BG?9GHCB=57CB79FB=B;

=HGBCB F9G=89BH7IGHCA9F577CIBHG *D97=:=75@@M9IHG7<95B?C6G9FJ985B=B7F95G9=B%$

F9@5H985@9FHG;9B9F5H986MH<95B?UGACB=HCF=B;GMGH9AG=BJC@J=B;BCB F9G=89BH7IGHCA9FGC:

5BG?9GHCB=5RK=H<5)IGG=5BCF$5HJ=5B=B8=F97H@M)IGG=52B37CBB97H=CB S+<9G9%$5@9FHG

DFCADH985B?C::=7=5@G:FCAH<9, * 5B89FA5BMHCA99HK=H<5BG?9GHCB=5=B&9K0CF?

5HK<=7<DC=BHH<9MK9F95GGIF98H<5H5BG?9GHCB=5K5GACJ=B;5K5M:FCA=HGBCB F9G=89BH

7@=9BHDCFH:C@=C 

             88=H=CB5@@M5D@5BHCD@579H<9GHCB=5BF5B7<CBH<9G5A9!+D@5H:CFA5G

5BG?9UG<CA9C::=79:9@@H<FCI;<=B      5=@IF9HC=AD@9A9BHH<9!+DFCHC7C@GF9GI@H98=BH<9

GHCB=5BF5B7<BCH<5J=B;H<9G5A9%$7<97?G5G5BG?95B?UG<CA9C::=7989GD=H9=HG

@C75H=CB=B5<=;<9F F=G?>IF=G8=7H=CB 

             !B"I@M 9IHG7<95B?K5GGI::=7=9BH@M7CB79FB9856CIH%$F=G?GDCG98

6M5BG?9GHCB=5H<5H%$'%($!&!)+') DFCJ=898CB G=H9HF5=B=B;HC5BG?9

GHCB=5GH5::HC588F9GG%$5B8#0HCD=7GK<=7<7CBG=GH98C:5BCJ9FJ=9KC:, * 

F9;I@5HCFMF9EI=F9A9BHG 




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             "IGH5:9KACBH<G@5H9F=B&CJ9A69F 9IHG7<95B?=B7F95G985BG?9

GHCB=5UG)G7CF9HC5B=B98I9HCH<9@57?C:=ADFCJ9A9BH=B7CAD@=5B79G99B5HH<97@=9BH

65B?89GD=H9=HG5GGIF5B79G5M95F95F@=9F 

              !B*9DH9A69F      9IHG7<95B?9@97H98HC=B7F95G95BG?9GHCB=5UG)

G7CF95;5=BHC5H9BH<9A5L=AIACBH<95B?UGF=G?G75@95:H9F=H7CBH=BI98HCG99=BGI::=7=9BH

=ADFCJ9A9BHG:FCA5BG?9GHCB=5F9;5F8=B;=HGBCB F9G=89BH7IGHCA9FDCFH:C@=C +<9G7CF9K5G

9LDF9GG@M65G98CBRH<9JC@IA95B8B5HIF9SC:GIGD=7=CIG57H=J=HM=BJC@J=B;5BG?9GHCB=55B8

=HG7IGHCA9FG5GK9@@5GR@5K9B:CF79A9BH=BEI=F=9GF9@5H98HC5BG?9GHCB=55B8=HG

7IGHCA9FG S9GD=H9H<=G@57?C:=ADFCJ9A9BHH<95B?9@97H98HC7CBH=BI9=HGF9@5H=CBG<=DK=H<

5BG?9GHCB=5 

              9IHG7<95B?UGD9F79DH=CBH<5H5BG?95B?K5GBCH=ADFCJ=B;K5G577IF5H9 

5BG?9GHCB=5G5K5BCH56@9=B7F95G9=BBCB F9G=89BH=5@6IG=B9GG:FCA)IGG=55B8CH<9F:CFA9F

*CJ=9HGH5H9G=B    +<=G6IG=B9GGK5G8=GDFCDCFH=CB5H9@M@5F;95B8@I7F5H=J9:CF5BG?95B?

Q=B      5@CB95BG?9GHCB=5;9B9F5H98 C:5BG?95B?UGHCH5@DFC:=HG89GD=H9CB@M

577CIBH=B;:CF C:H<965B?UG5GG9HG 

             !BDF=@    %$'%($!&!)+') 5B8CH<9F5B?9AD@CM99G

A9HK=H<5BG?9GHCB=5D9FGCBB9@CB795;5=BHC8=G7IGG9IHG7<95B?UG7CB79FBGF9;5F8=B;

H<9JC@IA9C:%$=BJ9GH=;5H=CBG=BJC@J=B;5BG?9GHCB=57IGHCA9FG IF=B;H<9DF=@             

A99H=B;9IHG7<95B?D9FGCBB9@9LDF9GG987CB79FBGHC5BG?9GHCB=5=BJC@J=B;=HGBCB

F9G=89BHDCFH:C@=C !BD5FH=7I@5FH<95B?BCH98H<5H=HKCI@8B998HC7CBG=89FF95GG9GG=B;=HG

F9@5H=CBG<=D=B7@I8=B;DCGG=6@9H9FA=B5H=CBC:5BG?9GHCB=5UG577CIBHGIB@9GG5BG?9GHCB=5

K5G56@9HCA=H=;5H9H<9%$ F9@5H98=GGI9G=BJC@J=B;=HGBCB F9G=89BH7IGHCA9FG +<9BIA69FC:




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GIGD=7=CIGHF5BG57H=CBG=BJC@J=B;5BG?9GHCB=5UG7IGHCA9FGG@=;<H@M897F95G9869HK99B         

 HF5BG57H=CBG5B8    HF5BG57H=CBG 

            +<9G97CB79FBGD9FG=GH98<CK9J9F5B8H<9EI9GH=CBC:K<9H<9FHCF9H5=B5BG?9

GHCB=55G57@=9BHK5GF5=G985;5=B=B@5H9  !B5&CJ9A69F    9A5=@%$

'%($!&!)+') GH5H98H<5H9IHG7<95B?K5GR2C3B795;5=BBCH<5DDMK=H<

K<5H2H<9M<5839LD9F=9B79283K=H<GCA9C:5BG?95B?GHCB=5UG7@=9BHG=B588=H=CBHCGCA9

%$5B8G5B7H=CBG7CBHFC@G S%$'%($!&!)+') :IFH<9FGH5H98H<5HH<95B?

RJ5@I92G3H<9F9@5H=CBG<=D2K=H<5BG?9GHCB=536IHAIGHG99=ADFCJ9A9BHG S

            +<9:C@@CK=B;K99?CB&CJ9A69F %$'%($!&!)+') 

8F5:H985B=BH9FB5@A9ACF5B8IA5:H9F7CB8I7H=B;5BCB G=H9J=G=H5H5BG?9GHCB=5 +<98F5:H

A9ACF5B8IA7CB7@I898H<5HH<9F9K5G5R65G=G:CF7@CGIF9SC:H<95BG?9GHCB=5577CIBHG

@5F;9@M8I9HC5@57?C:=ADFCJ9A9BHG=B%$7CBHFC@G +<9A9ACF5B8IA5@GC58JC75H98H<5H

H<95B?@=A=H5BG?9GHCB=5UGHF5BG57H=CBGHCDFC79GG=B;D5MA9BHGK<=7<CF=;=B5H98:FCA

5BG?9GHCB=5UG7IGHCA9FGK<CK9F9F9G=89BHGC:GHCB=5 +<=G8F5:HA9ACF5B8IA8C9GBCH

5DD95FHC<5J9699BG9BHHC5BMCH<9F9IHG7<95B?D9FGCBB9@CFH<=F8D5FHMDF=CFHCH<9

H9FA=B5H=CBC:H<95BG?9GHCB=57CFF9GDCB89BH65B?=B;F9@5H=CBG<=D=B'7HC69F  

            +KC85MG@5H9FCB&CJ9A69F , * C::=79FG:FCAH<95B?<585

D<CB97CBJ9FG5H=CBK=H<H<9=F7C@@95;I9G=B9FA5BM 'BH<5H75@@7CB79FBGK9F9F5=G98

F9;5F8=B;F979BH@5K9B:CF79A9BH=BEI=F=9G=BHC5BG?9GHCB=5UG7IGHCA9FG5GK9@@5G5B

=B7F95G9=BGIGD=7=CIGHF5BG57H=CBG !HK5G5@GCA9BH=CB988IF=B;H<975@@H<5H5BG?9GHCB=5

K5GRBCH7CCD9F5H=J99BCI;<S5B8<58RBCH=ADFCJ98S89GD=H9H<95B?UGGI;;9GH=CBG +<=GK5G

GI6G9EI9BH@M8=G7IGG98=B5B=B D9FGCBA99H=B;CB&CJ9A69F  =BK<=7<%$




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'%($!&!)+') 58JC75H98HCA5=BH5=BH<9F9@5H=CBG<=DK<=@9A=H=;5H=B;H<9F=G?G

=BJC@J=B;5BG?9GHCB=5UGBCB F9G=89BH7IGHCA9FDCFH:C@=C 

            &CHK=H<GH5B8=B;H<9G97CB79FBG9IHG7<95B?897=898HCA5=BH5=BH<9

F9@5H=CBG<=D:CFHKCF95GCBG 5BG?9GHCB=5K5GJ=9K985B=ADCFH5BH7CADCB9BHC:H<9

5B?UG;@C65@F9@5H=CBG<=DK=H<5BG?95B? *5B89IHG7<95B?69@=9J98H<5H=H7CI@8

9::97H=J9@MA=H=;5H95B87CBHFC@H<9F=G?G 

            M95F@M CH<9FA5>CF.9GH9FB:=B5B7=5@=BGH=HIH=CBG69;5B89 F=G?=B;9::CFHG

=BH<95@H=7F9;=CBF9@5H98HCACB9M@5IB89F=B;F=G?G 9IHG7<95B?9@97H98HC7CBH=BI9HC8C

6IG=B9GG=BH<9F9;=CB<CK9J9F 

            +<95B?K5G5K5F9H<5HH<9F=G?GACGH@M79BH9F98CB<=;< F=G?BCB F9G=89BH

R )&)S577CIBHG<9@8=BH<9F9;=CBK=H<69B9:=7=5@CKB9FG@C75H98@5F;9@M=B)IGG=55B8CH<9F

:CFA9F*CJ=9HGH5H9G .<9B@5H9FEI9GH=CB9856CIHK<9H<9F9IHG7<95B?K5G7CB79FB98K=H<

H<9JC@IA9C: )&)577CIBHGA5=BH5=B985H5BG?9GHCB=55B8CH<9F:=B5B7=5@=BGH=HIH=CBG

65G98=BH<95@H=7GH<95B?UGF9@5H=CBG<=DA5B5;9FGH5H98H<5HRH<9F9K9F9@9;=H=A5H9F95GCBG

:CF:CFA9F*CJ=9H6IG=B9GG9G5B8=B8=J=8I5@GHCIG9BCB F9G=89BH65B?GS5B8H<5HRGI7<

7IGHCA9FGC:H9BCD9F5H985B8@=J98IB89F;CJ9FBA9BHGH<5HK9F97CFFIDH5B8F5D57=CIG5B8H<IG

H<9F9K9F9J5@=8F95GCBG:CFH<9AHC<C@8H<9=FACB9MCJ9FG95G S

            !BF9GDCBG9HCH<95B?UG9::CFHGHCA=H=;5H95B87CBHFC@H<9%$F=G?DCG986M

5BG?9GHCB=55BG?9GHCB=58=8=B:57HIB89F;CGCA9F9:CFAGCJ9FH<97CIFG9C: 6IH

H<9G9IB89FG7CF98H<9:5=@=B;GIDHCH<5HDC=BH CF9L5AD@9

           5  5BG?9GHCB=5=BHFC8I7985R7IGHCA9FF=G?@9J9@89H9FA=B5H=CBSDFC798IF9H<9

               :=FGH7<5B;9=B:=J9M95FGHC5BG?9GHCB=5UGDC@=7=9G5B8DFC798IF9G:CF

               9J5@I5H=B;57@=9BHUGF=G? 



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           6  .<=@95BG?9GHCB=5<58DF9J=CIG@MG7F99B98CIH;C=B;D5MA9BHG5;5=BGHH<9

               , * +F95GIFM9D5FHA9BHUG'::=79C:CF9=;BGG9HCBHFC@5B8IFCD95B,B=CB

               G5B7H=CBG@=GHG=H69;5BG7F99B=B;=B7CA=B;D5MA9BHG5;5=BGHH<CG9@=GHG 

             9IHG7<95B?K5G5K5F9C:H<9@57?C:GI7<F9:CFAGDF=CFHC  CF9L5AD@9

9IHG7<95B?UG5BBI5@%$=G7IGG=CBGK<=7<K9F9F9EI=F986M=BH9FB5@5B?DC@=7M:CF

<=;< F=G?7@=9BHGF9:@97HH<5H79FH5=B5GD97HGC:5BG?9GHCB=5UG%$ #0DFC;F5AK9F9

@5F;9@M<C@8CJ9FG:FCAH<9*5ADC5B?9F5K=H<H<9%$=G7IGG=CBGG=AD@M@=GH=B;R2B3C

7<5B;9GHCDF9J=CIG8=G7IGG=CBSM95F5:H9FM95FK=H<CB@MA=BCF7<5B;9G 

             'B*9DH9A69F %$'%($!&!)+') GH5H98=B5

HF5BG=H=CBA9ACH<5HRH<95@H=7GGI::9F:FCA5B=B<9F9BH@M<=;<7@=9BH%$F=G?    

23CBH=BI98ACB=HCF=B;G<CI@869D@5798CB   5BG?95B?GHCB=5 !:H<9G=HI5H=CB:CF

5BG?95B?GHCB=5KCFG9BG!F97CAA9B8H<5HH<9577CIBH697@CG98 S

            9GD=H9H<=GF97CAA9B85H=CB:FCA5<=;< F5B?=B;5B8G95GCB987CAD@=5B79

DFC:9GG=CB5@9IHG7<95B?7CBH=BI98=HGF9@5H=CBG<=DK=H<5BG?9GHCB=5M9H5;5=B 

            IF=B;H<99=;<H M95FD9F=C869HK99B 5B8        9IHG7<95B?7@95F98

ACF9H<5B6=@@=CB=B HF5BG57H=CBG:CF5BG?9GHCB=5 'IHC:H<=GHCH5@5BG?9

HF5BG:9FF985H@95GH  6=@@=CB=BD5MA9BHG:FCA)IGG=55B8CH<9F:CFA9F*CJ=9HGH5H9GH<FCI;<

9IHG7<95B? 

            9HK99B 5B8 9IHG7<95B?=89BH=:=985HCH5@C: GIGD=7=CIG

HF5BG57H=CBGH<5HF9:9F9B7985BG?9GHCB=5UG, * 8C@@5F7CFF9GDCB89BH577CIBHG +<9<=;<

BIA69FC:GIGD=7=CIGHF5BG57H=CBGH<9<=GHCFMC:<=;<)G7CF9G5B8J5F=CIG8=5@C;I9GH<5HH<9

5B?<58K=H<=HG7@=9BH7CB79FB=B;%$DC@=7=9G5B87CBHFC@GDIH9IHG7<95B?CBBCH=79H<5H

H<9F9K9F9=GGI9GH<5HF9EI=F98H=A9@M:IFH<9F57H=CB 



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            9GD=H9H<=GH<95B?A5=BH5=B98=HGF9@5H=CBG<=DK=H<5BG?9GHCB=5IBH=@

'7HC69F 5M95F=BK<=7<9IHG7<95B?=89BH=:=98588=H=CB5@GIGD=7=CIGHF5BG57H=CBG

7CB79FB=B;5BG?9GHCB=5 

       ! &#0* '%($"&"$,)*"&"+* '))*('&&+ &#"& $+"'&*!"(*

            !B7CBB97H=CBK=H<H<95B?UGF9@5H=CBG<=DGK=H<H<9G9<=;< F=G?7CFF9GDCB89BH

65B?=B;7IGHCA9FGH<95B?:5=@98HCA5=BH5=BDC@=7=9GH<5HG9HCIHGI::=7=9BH@MGD97=:=77F=H9F=5

GI7<5GD5HH9FBGC:<=;<)G7CF9GCF<=;<GIGD=7=CIG57H=J=HMJC@IA9GIB89FK<=7<H<95B?

KCI@889H9FA=B9K<9H<9FHCH9FA=B5H957CFF9GDCB89BH65B?=B;F9@5H=CBG<=DCFK<9H<9F@9GG9F

F=G? A=H=;5H=CBA95GIF9GKCI@8695DDFCDF=5H9 

            IF=B;D5FHC:H<9G9F9@5H=CBG<=DGH<95B?:5=@98HCA5=BH5=BDC@=7=9GH<5H7@95F@M

DFCJ=898:CFH<97@CGIF9C:577CIBHG65G98CBH<9:5=@IF9HCC6H5=BCFID85H95,*(+)!'+

7H79FH=:=75H=CB:FCA=HG7CFF9GDCB89BH65B?=B;7@=9BHG 

            =B5@@MH<95B?:5=@98HC7CBG=GH9BH@MA5=BH5=BDC@=7=9GH<5HDFCJ=898DF57H=75@

;I=85B79HC:57=@=H5H9H<9=F=AD@9A9BH5H=CBGI7<5GDFC798IF9G:CF89H9FA=B=B;K<9H<9FCH<9F

:CF9=;B65B?GIG9H<9F9GDCB89BHUG7CFF9GDCB89BH577CIBHCF9LD@5B5H=CBGC:<CK9AD@CM99G

7CI@8J9F=:MH<9=89BH=H=9GC:F9GDCB89BHGU69B9:=7=5@CKB9FG 

     9IHG7<95B?UG*I6GH5BH=5@CCD9F5H=CB5B8)9A98=5H=CB

            +<99D5FHA9BHF97C;B=N9G5B87F98=HGH<95B?UG9L9AD@5FM7CCD9F5H=CB8IF=B;

H<97CIFG9C:H<99D5FHA9BHUG=BJ9GH=;5H=CBGC:H<95B?UG:CFA9FF9@5H=CBG<=DGK=H<5BG?9

5B?%5B8"9::F9MDGH9=B +<=G7CCD9F5H=CBK<=7<C77IFF98CJ9FG9J9F5@M95FG=B7@I898

7CB8I7H=B;7CADF9<9BG=J95B8H<CFCI;<=BH9FB5@=BJ9GH=;5H=CBGC:957<C:H<CG9:CFA9F

F9@5H=CBG<=DG5B8G<5F=B;H<9F9GI@HGC:H<CG9=BJ9GH=;5H=CBGK=H<H<99D5FHA9BH=B589H5=@985B8

HF5BGD5F9BHA5BB9F7C@@97H=B;5B5@MN=B;5B8DFC8I7=B;BIA9FCIG8C7IA9BHG5B8CH<9F



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=B:CFA5H=CBHCH<99D5FHA9BH5B8DFCJ=8=B;H=A9@M5B889H5=@98F9GDCBG9GHCH<99D5FHA9BHG

=BEI=F=9G 

                +<99D5FHA9BH5@GCF97C;B=N9G5B87F98=HGH<95B?UGCB;C=B;9::CFHGHC

F9A98=5H9H<9G<CFH7CA=B;G=89BH=:=98=BH<=GCBG9BH'F89F=B7@I8=B;H<9:57HH<5HH<9G99::CFHG

7CAA9B79869:CF9H<9=B79DH=CBC:H<99D5FHA9BHUG=BJ9GH=;5H=CBGC:H<9:CFA9FF9@5H=CBG<=DG

89G7F=698<9F9=B ACB;CH<9FH<=B;GH<95B?<5G89ACBGHF5H98=HG7CAA=HA9BHHCF9A98=5H=CB

6M89JCH=B;G=;B=:=75BH:=B5B7=5@5B8CH<9FF9GCIF79GHC9B<5B79H<95B?UG%$DFC;F5A

=B7@I8=B;H<FCI;<7<5B;9GHC=HGDC@=7=9GDFC798IF9GGMGH9AG;CJ9FB5B79GHFI7HIF9G5B8

D9FGCBB9@5GK9@@5G=HGCB;C=B;7CCD9F5H=CBK=H<H<9=B89D9B89BHACB=HCFG9@97H986MH<9

9D5FHA9BH5GF9:9F9B798=BD5F5;F5D< 69@CK5B86MF98I7=B;H<95B?UGDCFH:C@=CC:

<=;< F=G?7@=9BHG=B=HG7CFF9GDCB89BH65B?=B;5B8.95@H<%5B5;9A9BH6IG=B9GG9G 

                CBG=GH9BHK=H<H<9F9EI=F9A9BHGC:&9K0CF?5B?=B;$5KOH<9

9D5FHA9BH<5G;=J9BGI6GH5BH=5@K9=;<HHCH<97CAA9B856@97CB8I7H89G7F=698=BD5F5;F5D<G

    5B8     56CJ9 

                                !$"&!$#%$(%# '"&!$#%

               +<99D5FHA9BH:=B8GH<5H9IHG7<95B?7CB8I7H986IG=B9GG=B5BIBG5:95B8

IBGCIB8A5BB9F=BJ=C@5H=CBC:&9K0CF?5B?=B;$5KO 

               +<99D5FHA9BH:=B8GH<5H9IHG7<95B?:5=@98HCA5=BH5=B5B9::97H=J95B8

7CAD@=5BH5BH= ACB9M@5IB89F=B;DFC;F5A=BJ=C@5H=CBC:&0))O        

        &'.+ )')HCF9GC@J9H<=GA5HH9FK=H<CIH:IFH<9FDFC7998=B;GDIFGI5BHHCH<9

*ID9F=BH9B89BHUG5IH<CF=HMIB89F*97H=CBG5B8C:H<95B?=B;$5KH<99D5FHA9BH5B8

)9GDCB89BHGGH=DI@5H95B85;F99HCH<9:C@@CK=B;H9FAG5B87CB8=H=CBG




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         %CB9H5FM(9B5@HM

             9IHG7<95B?G<5@@D5M5D9B5@HMHCH<99D5FHA9BHDIFGI5BHHC&9K0CF?

5B?=B;$5KOO5B8=BH<95ACIBHC:CB9<IB8F98:=:HMA=@@=CB, * 8C@@5FG

              +<99BH=F95ACIBHG<5@@69D5=8HCH<99D5FHA9BHK=H<=BH9B 6IG=B9GG

85MGC:9L97IH=B;H<=GCBG9BH'F89F 

             9IHG7<95B?5;F99GH<5H=HK=@@BCH7@5=A5GG9FHCF5DD@M:CF5H5L898I7H=CBCF

H5L7F98=HK=H<F9;5F8HC5BM, * :989F5@GH5H9CF@C75@H5L8=F97H@MCF=B8=F97H@M:CF5BMDCFH=CB

C:H<97=J=@ACB9H5FMD9B5@HMD5=8DIFGI5BHHCH<=GCBG9BH'F89F 

             9IHG7<95B?:IFH<9F5;F99GH<5H=HG<5@@B9=H<9FG99?BCF5779DH8=F97H@MCF

=B8=F97H@MF9=A6IFG9A9BHCF=B89AB=:=75H=CBK=H<F9GD97HHCD5MA9BHC:H<9D9B5@HM5ACIBH

=B7@I8=B;6IHBCH@=A=H98HCD5MA9BHA589DIFGI5BHHC5BM=BGIF5B79DC@=7M 

         )9A98=5H=CB

             B=B89D9B89BHACB=HCFG9@97H986MH<99D5FHA9BH=G5@F958M9B;5;98HC5GG=GH

H<95B?DIFGI5BHHCH<9CBG9BH'F89F9BH9F98=BHC69HK99BH<95B?5B8H<99D5FHA9BH85H98

"5BI5FM   +<99D5FHA9BH<5G8=F97H98H<9ACB=HCFHC588F9GGH<97CAD@=5B79:5=@IF9G

=AD@=75H986MH<9=BGH5BHCBG9BH'F89F=BH<97CBH9LH5B8K=H<=BH<9H=A9H56@9GC:H<5H

9B;5;9A9BH +<95B?F97CB:=FAG=HG7CAA=HA9BHHC7CCD9F5H9:I@@MK=H<H<9ACB=HCF5B8

57?BCK@98;9GH<5H5@H<CI;<BC9LH9BG=CBC:H<9ACB=HCFG<=D=G7IFF9BH@M7CBH9AD@5H98H<9

9D5FHA9BHA5M=B=HGGC@9F9;I@5HCFM8=G7F9H=CB9LH9B8H<9G7CD9C:8IF5H=CBC:H<9

ACB=HCFG<=DHC588F9GGH<95B?UG:5=@IF9G89G7F=698<9F9=B 




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       I@@5B8CAD@9H9CCD9F5H=CB

            +<95B?7CAA=HG5B85;F99GH<5H=HK=@@:I@@M7CCD9F5H9K=H<H<99D5FHA9BH

F9;5F8=B;5@@H9FAGC:H<=GCBG9BH'F89F5B85GBCH9856CJ9H<95B?<5G5@F958MDFCJ=898

9L9AD@5FM7CCD9F5H=CB=BH<9G95B8F9@5H98A5HH9FG 

       .5=J9FC:)=;<HG

            +<9D5FH=9GIB89FGH5B85B85;F99H<5HBCDFCJ=G=CBC:H<=GCBG9BH'F89F=G

GI6>97HHCF9J=9K=B5BM7CIFHCFHF=6IB5@CIHG=89H<99D5FHA9BH 

       (5FH=9GCIB86MH<9CBG9BH'F89F

           +<=GCBG9BH'F89F=G6=B8=B;CBH<99D5FHA9BH9IHG7<95B?=B7@I8=B;=HG

&9K0CF?F5B7<5GK9@@5G5BMC:H<9=FGI779GGCFG5B85GG=;BG +<=GCBG9BH'F89F8C9GBCH

6=B85BM:989F5@CFCH<9FGH5H95;9B7MCF5BM@5K9B:CF79A9BH5IH<CF=HM 

           &C:IFH<9F57H=CBK=@@69H5?9B6MH<99D5FHA9BH5;5=BGHH<95B?:CFH<9

7CB8I7HG9H:CFH<=BH<=GCBG9BH'F89FDFCJ=898H<5HH<95B?7CAD@=9GK=H<H<9H9FAGC:H<=G

CBG9BH'F89F CFH<9G5?9C:7@5F=HMGI7<7CB8I7H=B7@I89G5H<95B?UG%$7CBHFC@

89:=7=9B7=9GK=H<F9GD97HHCH<9CB6C5F8=B;5B8ACB=HCF=B;C::CF9=;B65B?7IGHCA9FGHCK<CA

H<95B?DFCJ=8988C@@5F 7@95F=B;G9FJ=79GH<FCI;<H<985H9C:H<=G'F89F=B7@I8=B;6IHBCH

@=A=H98HCH<95B?UGF9@5H=CBG<=DGK=H<%5B85BG?9GHCB=58=G7IGG98<9F9=B6IHCB@MHC

H<99LH9BHH<5HGI7<89:=7=9B7=9G8CBCH7CBGH=HIH9?BCK=B;5B8K=@@:I@A=G7CB8I7HH<5HKCI@869

GI6>97HHCD9B5@HMIB89F&9K0CF?5B?=B;$5KO5B86H<95B?UGF9@5H=CBG<=DK=H<

"9::F9MDGH9=B5B8F9@5H98=B8=J=8I5@G5B89BH=H=9G 

           &CHK=H<GH5B8=B;5BMCH<9FDFCJ=G=CB=BH<=GCBG9BH'F89FH<99D5FHA9BHA5M

IB89FH5?957H=CB5;5=BGH9IHG7<95B?:CFHF5BG57H=CBGCF7CB8I7H=B7CBB97H=CBK=H<%

5BG?95B?5B8"9::F9MDGH9=B5B8<=GF9@5H989BH=H=9GH<5H9IHG7<95B?8=8BCH8=G7@CG9HC



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H<99D5FHA9BH=BH<9DF9G9BH5H=CBG5B8KF=HH9BA5H9F=5@GGI6A=HH98HCH<99D5FHA9BH=B

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           !BH<99J9BHH<5HH<99D5FHA9BH69@=9J9G5BMD5FHMHCH<=GCBG9BH'F89FHC69=B

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5B8H<9D5FHMAIGHK=H<=BH9B 6IG=B9GG85MGC:F979=J=B;GI7<BCH=79CFCB5@5H9F85H9=:GC

89H9FA=B98=BH<99D5FHA9BHUGGC@98=G7F9H=CB5DD95F69:CF9H<99D5FHA9BHHC89ACBGHF5H9

H<5HBCA5H9F=5@6F957<<5GC77IFF98CFHCH<99LH9BHD9FH=B9BHH<5HH<96F957<=GBCHA5H9F=5@CF

<5G699B7IF98 

           +<9D5FH=9GIB89FGH5B85B85;F99H<5H5BMD5FHMUG:5=@IF9HCA5?9H<9F9EI=F98

G<CK=B;K=H<=BH<989G=;B5H98H=A9D9F=C8G<5@@69DF9GIADH=J99J=89B79C:H<5HD5FHMUG6F957< 

,DCB5:=B8=B;H<5H56F957<C:H<=GCBG9BH'F89F<5GC77IFF98H<99D5FHA9BH<5G5@@H<9

F9A98=9G5J5=@56@9HC=HIB89F&9K0CF?5B?=B;5B8=B5B7=5@*9FJ=79G$5K5B8A5MIG95BM

9J=89B795J5=@56@9HCH<99D5FHA9BH=B5BM9BGI=B;<95F=B;GBCH=79GCFCF89FG 

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GH5M98AC8=:=98GIGD9B898CFH9FA=B5H986MH<99D5FHA9BH 

          &CDFCA=G95GGIF5B79F9DF9G9BH5H=CBCFIB89FGH5B8=B;CH<9FH<5BH<CG9

7CBH5=B98=BH<=GCBG9BH'F89F<5G699BA589HC=B8I795BMD5FHMHC5;F99HCH<9DFCJ=G=CBGC:

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                                                                                                                                                      6th day
                                                                     IN WITNESS WHEREOF, the parties have caused this Consent Order to be signed this ___
                                                                     of July, 2020.
                                                                          NEW YORK STATE DEPARTMENT                         DEUTSCHE BANK AG
                                                                          OF FINANCIAL SERVICES
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                                                                        By: _______________________________                 By: _________________________
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                                                                            R. BRUCE WELLS                                      Karen Kuder
                                                                            Associate Counsel                                   General Co
                                                                                                                                        Counsel
                                                                                                                                         ounsel
                                                                            Consumer Protection & Financial
                                                                            Enforcement Division
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                                                                                                                                Thorstenn Seyfriedd
                                                                        By: _______________________________                     General Counsel – Germany and
                                                                            KEVIN R. PUVALOWSKI                                 EMEA
                                                                            Senior Deputy Superintendent
                                                                            Consumer Protection & Financial
                                                                            Enforcement Division                            DEUTSCHE BANK AG,
                                                                                                                            NEW
                                                                                                                              W YORK BRANCH
                                                                        By: _______________________________                 By: _________________________
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                                                                            KATHERINE A. LEMIRE                                 Joe
                                                                                                                                Joe Salama
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                                                                            Executive Deputy Superintendent                     Global Head of Litigation and
                                                                            Consumer Protection & Financial                     Regulatory
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                                                                                                                                Andrew
                                                                                                                                 ndrew Stemmer
                                                                         By: _____________________________                      Head of Litigation & Regulatory
                                                                             LINDA A. LACEWELL                                  Enforcement – Americas
                                                                             Superintendent of Financial Services
                                                                                                                            DEUTSCHE BANK TRUST
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                                                                                                                            By: _________________________
                                                                                                                                Steven F. Reich
                                                                                                                                General Counsel – Americas
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